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            ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES, LLC                       Trademark Infringement, Fraud, Racketeering           1

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                                                UNITED STATES DISTRICT COURT                                   t01i SAP -Z PM i~ 4~
     ~FP - 22021
                                    FOR THE CENTRAL DISTRICT OF CALIFORNIt~C*~i~~t~U;;T. t~F r~i~~.
                                                                                                                      i_~~ ,~ltGE:L£S
    CIerK, US District Court
~        COURT 4612
                                                              WESTERN DIVISION
                                                                             §§          . LACU21~7~93-SSW-~
                                                                                  Case No.
         Alfred McZeal, Jr., d/b/a                                           §
         SMART WALKIE TALKIEO                                                §               JURY TRIAL DEMANDED
         Plaintiff                                                           §
                                                                             §          TRADEMARK INFRINGEMENT, UNFAIR
                   vs.                                                       §           COMPETITION, FALSE MARKING,NT
                                                                             §         INFRINGEMENT, TRADEMARK DILUTION,
                                                                             §        INJUNCTIVE RELIEF, CONSPIRACY, FRAUD,
         AMAZON.COM SERVICES LLC                                             §               DECLARATORY JUDGMENT
         ORION LABS, LLC.,                                                   §
         JESSE BOBBINS,                                                      §         With EXHIBIT "F" COMPLAINT FOR FRAUD
         BEST BUY CO, Inc
         SETTER ROCHE, LP                                                    §      WITH MOTION FOR PRELIMINARY INJUNCTION
         THOMAS SYLKE,                                                       §          §1125 Injunctive Relief(15 USC §1116)
         DOES 1 THRU 10                                                      §
         Defendants

                                                                    INTRODUCTION

                            SHORT STATEMENT OF THE CLAIM 8~ ENTITLEMENT TO RELIEF

                       1. This is a complaint for willful trademark infringement and violations of the U.S.

                            Lanham Trademark Act, relative to a federally registered trademark "Smart

                            Walkie Talkie0, by plaintiff Alfred McZeal, Jr. owner of the Trademark at issue.

                            Defendants uses a fraudulent designation in interstate commerce in connection

                               with goods or services where it is likely to cause confusion, mistake, or

                            deception as to the affiliation, connection, or association of the defendant

                            services with plaintiff' services and the confusion has caused damages. Plaintiff

                               is entitled to recover monetary damages, treble damages, and injunctive relief.


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                                             SUMMARY OF THE CLAIMS


                              TRADEMARK INFRINGEMENT, 15 USC. §1114
  U nfair Competition, likelihood of confusion, &Intentional violations of the U.S. Lanham Trademark Act,


                                  INJUNCTIVE RELIEF §1125 Injunctive Relief(15 USC §1116)



                TRADEMARK DILUTION Violations of The Federal Trade Mark Dilution Act of 1995
                          - 15 USC 1023(c); Section 43(c) of the Lanham Act



                                      COMMON LAW TRADEMARK INFRINGMENT



                                caiifornia Trademark Registration Act Violations
                                           Chapter 129, Statutes of 1863

                                                           FRAUD,
                                              (Rule 9(b) Fed. R. Civ Procedure)



                                            NEGLIGENT MISREPRESENTATION,



                                        CALIFORNIA UNFAIR TRADE PRACTICES



                                            COMPLAINT FOR RACKEETERING




            DECLARATORY JUDGMENT Under The Declaratory Judgment Act 28 USC §2201-2202,




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     EXHIBIT "1-A"— PLAINTIFF'S CALIFORNIA TRADEMARK SMART
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                             Appendix




  COMPLAINT FO R WILLFUL TRADEMARK INFRINGEMENT                                                  Jr
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                                  PLAINTIFF'S ORIGINAL COMPLAINT

                                                  NATURE OF THE CASE

                TRADEMARK INFRINGEMENT —SMART WALKIE TALKIEO

                                      U.S. Lanham Act 15 USC §1051 et seq

          2. This is a civil action and motion to secure immediate injunctive relief,

                and to recover damages for willful and intentional trademark

                infringement unfair competition, and for willful violations of The U.S.

                Lanham Act 15 USC §1051 et seq, The Federal Trademark Dilution

                Act of 1995, trademark dilution, and trademark dress.

          3. The alleged infringement is a direct and willful infringement on

                plaintiff's "Smart Walkie Talkie O" Registered trademarks and as

                such Plaintiff will request an immediate hearing on the motion for

                injunctive relief requested in this complaint in order to further prevent

                economic loss and injury to the plaintiff and to maintain the status

                quo of the trademark laws of the United States of America.

          4. Defendants willful unauthorized use of Plaintiffs' trademark (SMART

                 WALKIE TALK/EO, constitutes an infringement of Plaintiffs' federally-

                registered /state trademark rights, in violation of Section 32(1) of the

                Lanham Act,15 U.S.C.Sec.1114(I) and plaintiff is entitled to recover

                 Treble Damages for willful infringement violation of the Lanham Acts.


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            5. Defendants) have been notified of its infringing activities through its

                  main a_gent ORION LABS, LLC, but has nonetheless continued to

                 willfully and knowingly infringe, without legal justification, in violation

                 of the Plaintiff's Trademark rights.

      THEFT OF A U.S. REGISTERED &CALIFORNIA STATE TRADEMARK—
                        SMART WALKIE TALKIEO

           6. This action further seeks to recover damages for Racketeering

                 Activity on the basis that the defendants and its attorneys have

                 knowingly, intentionally, and willfully engage in illegal activity,

                 through, theft, and                            fraud, prohibited        by    Racketeer        Corrupt

                 Organization Act, including the unauthorized use or control of

                  intellectual property protected under federal laws of the United

                 States in which damages, injunctive and other equitable relief are

                 sought.

           7. CAUSE OF ACTION: The instant claims are predicated on willful

                  infringement of a U.S. registered trademark granted by the United

                 States Patent and Trademark Office                                  because these defendants

                 without authority uses a desi_gnation in interstate commerce in

                 connection with the _goods or services where the desi_gnation is

                 likely to cause confusion, or mistake, or deception as to the



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                 affiliation, connection,                         or association of the defendant with

                 another person, and the plaintiff has been or is likely to be

                 dama_ged by these acts.

                       Trademark Infringement —California Trademark Law

           8. Plaintiff further brings this action                              pursuant to the California

                 Registered Trademark Act for Infringement, to recover monetary

                 damages under the great State of California, for willful trademark

                 infringement, unfair trade                         practices, trademark dress, unfair

                 competition,                fraud,           and    further     because        the     defendants

                 intentionally and knowingly uses the exact same mark ("SMART

                 WALKIE TALKIE") as the plaintiff in commerce, which causes

                 confusions as to the source of products and services, and thus the

                 plaintiff has suffered irreparable damages as a result of defendant's

                 ongoing and continued use of the same trademark ("SMART

                 WALKIE TALKIE") to sell similar products and services which further

                 has created a definite likelihood-of-confusion about the origin of the

                 defendant's aoods or services.

           9. Plaintiff has developed a protectable trademark right in federal, state

                 law, and common law trademark. The defendant ORION LABS,

                 LLC. and agents, have used without license, and are presently


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                 using plaintiff's exact trade mark in commerce, claiming it as their

                 own, in such a way that creates a likelihood of confusion, mistake

                 and/or deception with the consuming public.

            10.       The confusion or use of the term ("SMART WALKIE TALKIE")

                 used by each of the defendants demonstrates that the defendant's

                 products and services are identical or equivalent to that of the

                   laintiff, or purports to show that the defendant is somehow

                 associated, affiliated, connected, approved, authorized or sponsored

                 by plaintiff, but which in fact they are not

            1 1.      The Plaintiff has absolutely no affiliation with the defendants or

                 any of its affiliates and has never granted defendant authority to use

                 its protected mark SMART WALKIE TALKIET"' in commerce.

                                                       RELIEF SOUGHT

            12.       The relief sought includes a preliminary injunction, permanent

                 injunction, injunctive relief to prohibit continuous infringement of the

                 trademark, the impoundment and destruction of goods bearing

                 infringing           trademarks, the                defendant's        profits    earned        from

                  infringement,               actual         damages, damages             for     fraud,     unjust

                 enrichment, negligent misrepresentation, negligence,                                     monetary

                 damages for fraud and damages for the use of a "counterfeit" or


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                virtual duplicate of a registered mark, treble damages for willful

                trademark infringement, damages for unlawful trade dress, damages

               for unfair competition in commerce, damages for civil conspiracy,

                damages, the imposition of a constructive trust with tracing,

               statutory, compensatory, punitive damages under state law,

                damages for deceptive trade practices, mental anguish, intentional

                infliction of emotional distress, disgorgement of profits earn through

               fraud, and unfair competition, fraud related to intellectual property

                abuse, all profits earned by fraud and trebled due to willful disregard

               for law, interest, attorney fees, court cost, cost of investigation and

               suit, and for all other equitable relief afforded under law.

           1 3.      Plaintiff further seeks a declaratory judgment under 28 USC

               §2201 and §2202 against the defendants declaring the same unfair

                competition, and fraudulent self serving acts complained of

                committed by the defendants and their agents to be unlawful in

                interstate commerce in the United States, and in the great State of

                California.




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                                                  JURISDICTION AND VENUE

            14        The jurisdiction of this court over this complaints is premised upon

                 Title 15 U.S.0 §7601-§1693 et seq, The Lanham (Trademark) Act,

                 15 USC §1023(c) §43(c) et seq, The Federal Trademark Dilution

                 Act, 35 USC §277, Federal jurisdiction is further based on 28 U.S.0

                §1331 (federal question), 28 U.S.0 §1337(commerce)& diversity.

            15          This court further has personal jurisdiction over the individual

                 defendants as the defendants business activities are well grounded

                 and rooted within this district selling products and services via

                 Amazon              and         through           their   Internet      website       located     at:

                 www.orionlabs.io

            16        This court has jurisdiction over the unfair competition claims

                 complained of herein under the provisions of 28 U.S.C. §1338 in that

                 the same claims are joined with a substantial and related claim under

                 the Trademark Laws of the United States, 15 U.S.C. §1051,et seq.

            17          SUPPLEMENTAL JURISDICTION: This court further has

                 jurisdiction over the state law and common law claims contained in

                 this complaint under the doctrine of supplemental jurisdiction

                 pursuant to 28 U.S.C. §1367 and is competent to rule on all of the

                 claims asserted under state law, and common law, section 1981 of


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                 the Civil Rights Act of 1866, the common law of the State of

                 California, 28 U.S.C. Sections §1331 and §1343(4) which confers

                 original jurisdiction upon this Court in a civil action to recover

                 damages or to secure equitable or other relief under any Act of

                 Congress providing for the protection of civil rights and §1331, which

                 confers original jurisdiction upon this Court in a civil action arising

                  under the Constitution or laws of the United States.

                                                                    VENUE

       18 Venue is proper in this District pursuant to 28 U.S.0 §1391(b) and

            §1391(c), because Defendants conduct interstate commerce and can

            be found operating within this district, where plaintiff is, and conducts

            business nationwide/world wide, and particularly in the State of

            California, Los Angeles through its Internet website (www.orionlabs.io)

            amazon.com, bestbuy.com, and many other affiliate websites, dealer

            locations of its national and international dealer network, and because

            the related causes of action and disputes are between parties of

            diversity of citizenship.

       19. Venue is further proper in this district court under 18 U.S.0

            §1391(b)(c). Venue is further proper due to the diversity of citizenship

             between the plaintiff and the defendants.


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                                                    PARTIES AND RELATIONSHIPS

        20. Plaintiff, Alfred McZeal, Jr. a/k/a AI McZeal, d/b/a SMART WALKIE

              TALKIEO, is an American Citizen and trademark owner who presenting

              does business in this district.

        21. Plaintiff is the undisputed registered owner of the U.S. & State

              trademark SMART WALKIE TALKIEO Registration No: 5303249 with a

               Registration Date of October 3, 2017 (See Exhibit "1" Plaintiff's

               Registered "Smart Walkie Talkie" Trademark.

        22. At all times relevant herein, plaintiff Alfred McZeal, Jr. is the owner of

              the California Registered Trade Mark "SMART WALKIE TALK/E"T""

               Registration No: 305897, Registration Date: January 31, 2019 - (Exhibit #1A)

        23.The plaintiff in general is complaining inter alia, of defendant's

  willful and reckless disregard for intellectual property rights of the plaintiff,

   including, but not limited to, the unlawful and unauthorized use of plaintiff's

  common law, California State Registered Mark,                                              and federally rec~ered
                                                                                                              ist

   trade name "SMART WALK/E TALK/E"O.

        24. Plaintiff is further complaining of the unfair competition, intentional,

   reckless and willful disregard for law, and unauthorized use of plaintiff's

  famous federal trademark "SMART WALKIE TALKIE"O, theft of the mark,

  trade mark dress, and other abusive and fraudulent acts which has harmed


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  and is continuing to harm plaintiff due to defendants negligence, and willful

  disregard of federal trademark laws of the United States of America.

       25.Defendant, ORION LABS, LLC ("ORION") on information and belief is a

            foreign corporation originating from, and which operate in the United

            States from San Francisco, California, and organized under the laws of

            the state of California and according to its website is backed by 21

            leading investors.

        26. Defendant, ORION operates a nationwide dealer network where it

            distributes its products and services under the trade name SMART

            WALKIE TALKIE with large sales and distribution networks such as

            AMAZON, BEST BUY, INC, and reseller network operators dispersed

            throughout the world.

        27. ORION, AMAZON, and all of its agents form an enterprises within the

            meaning of 18 U.S.0 §196(3) and §1962(c), which engage in, or the

            activities of which affect, interstate commerce within the meaning of 18

            U.S.C. §1962.



        28. It is specifically alleged herein that OR/ON uses a designation similar

            to plaintiff in interstate commerce called "SMART WALKIE TALKIE" in

            connection with goods or services where the designation is likely to


   COMPLAINT FO R W"/LLF(JL TR,4DEMARK n'FRINGEME.NT                                                 ~4
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              cause confusion, or mistake, or deception as to the affiliation,

              connection, or association of the defendant products and services with

              plaintiff's product and services, and the plaintiff has been or is likely to

               be damaged by these acts and /or continued to be damaged by the

              fraudulent acts.


        29. Defendant, JESSE ROBBINS, ("ROBBINS") is an individual of the

              full age and majority and on information and belief is the Chief

              Executive Officer , or CEO of defendant ORION LABS, INC. and uses,

              and approves the use of a designation similar to plaintiff in interstate

              commerce called "SMART WALKIE TALKIE" in connection with goods

              or services where the designation is likely to cause confusion, or

               mistake, or deception as to the affiliation, connection, or association of

               the defendant products and services with plaintiff's product and

              services, and the plaintiff has been or is likely to be damaged by these

               acts and /or continued to be damaged by the fraudulent acts.

        30. Defendant ROBBINS is sued in his individual and official capacity as

               Chief Executive Officer of ORION LABS, INC.

        31. As CEO, and founder of the company defendant ROBBINS authorizes

               the unauthorized use of plaintiff's trademark in commerce and stream



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             of commerce within his company and unauthorized used throughout the

             company's dealer network.

        32. Defendant, AMAZON.com, INC. ("AMAZON") on information and

  belief is an multinational company base in Seattle Washington, which focuses

  on e-commerce, cloud computing, digital streaming, and artificial intelligence

  and considered one of the Big Five companies in the U.S .information

  industry, along with Google, Apple, Microsoft, and Facebook considered one

  the most influential economic and cultural forces in the world, as well as the

  world's most valuable brand.

  33. Defendant, AMAZON, markets the brand "SMART WALKIE TALKIE" with

  ORION as its main source for SMART WALKIE TALKIE Products and

  Services.

  34. AMAZON together with ORION, BEST BUY, the board of directors, and

  agents make up an enterprises within the meaning of 18 U.S.0 §196(3) and

  §1962(c), which engage in, or the activities of which affect, interstate

  commerce within the meaning of 18 U.S.C. §1962.

  35. It is specifically alleged herein that AMAZON, is an agent of OR/ON

  LABS, LLC, a part of the enterprise and uses a designation similar to plaintiff

  in interstate commerce called "SMART WALKIE TALKIE" in connection with

  goods or services where the designation is likely to cause confusion, or


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  mistake, or deception as to the affiliation, connection, or association of the

  defendant with plaintiff's product and services, and the plaintiff has been or is

  likely to be damaged by these acts

   36. Defendant AMAZON offers to customers the SMART WALK/E TALKIE

  line of product on its world wide website located at: www.amazon.com and

  is believed to be ORION LABS, LLC., largest distributors.

  37. Defendant, BEST BUY INC.("BEST BUY") on information and belief is

  an is an American, multinational, consumer electronic retailer headquartered

  in Richfield, Minnesota, and is an agent of and works directly with ORION

  LABS, Inc. whereas, ORION encourages BESTBUY to infringe plaintiff's

  famous trademark for use as its own in the sale of its products and services.

  38. Defendant, BEST BUY, markets the counterfeit brand "SMART WALKIE

  TALKIE" with ORION as its main source for SMART WALKIE TALKIE

  Products and Services.

   39. BEST BUY together with ORION, AMAZON and its dealer network

  make up an enterprises within the meaning of 18 U.S.0 §196(3) and

  §1962(c), which engage in, or the activities of which affect, interstate

  commerce within the meaning of 18 U.S.C. §1962.

  40. It is specifically alleged herein that BEST BUY, is an agent of ORION

  LABS, LLC, and also uses a designation similar to plaintiff in interstate


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  commerce called "SMART WALKIE TALKIE" in connection with goods or

  services where the designation is likely to cause confusion, or mistake, or

  deception as to the affiliation, connection, or association of the defendant with

  plaintiff's product and services, and the plaintiff has been or is likely to be

  damaged by these acts.

  41. Defendant BEST BUY offers to customers the SMART WALK/E TALKIE

  line of product on its world wide website located at: www.bestbuv.com and

  is believed to be one of ORION'S LAB LLC, largest distributors..

  42. Defendant SETTER ROCHE, LLP is a limited liability partnership and on

  information and belief is headquartered in Westminster, Colorado and is/was

  the lead intellectual property firm for ORION LABS, Inc.

  43. Defendant THOMAS SYLKE is an individual of the full age of majority

  and an agent and attorney ORION LABS, LLC, and promotes and/or

  encourages uses of a designation similar to plaintiff in interstate commerce

  called "SMART WALKIE TALKIE" in connection with goods or services

   where the designation is likely to cause confusion, or mistake, or deception

  as to the affiliation, connection, or association of the defendant with plaintiff's

  product and

  44. Defendant SETTER ROCHE, LLP is/was an agent of ORION LABS,

  LLC, and promotes and/or encourages uses of a designation similar to


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  plaintiff in interstate commerce called "SMART WALKIE TALKIE" in

  connection with goods or services where the designation is likely to cause

  confusion, or mistake, or deception as to the affiliation, connection, or

  association of the defendant with plaintiff's product and services, and the

  plaintiff has been or is likely to be damaged by these acts.

                                                  ADDITIONAL PARTIES

  45. Plaintiff is presently without knowledge of all of the true names and

  capacities of all of the Defendants sues herein as DOES 1 through 10,000,

  inclusive, and therefore sues these Defendants by such fictitious names.

  46. On information and belief, many of these unknown defendants are

  investors, employees, board members, board of directors, agents, attorneys,

  and manufacturers, dealers, and distributors, of the Defendant ORION LABS,

  LLC..

  47. Plaintiff is informed and believes and thereon alleges that, at all times

  herein mentioned, each of the Defendants sued herein was the agent,

  employee, manufacturer, or investor, and was acting individually, as well as in

  their representative capacity.

  48.      Plaintiff asserts in this civil action that the named Defendants are

  collectively involved in a civil conspiracy to defraud and to deprive plaintiff of

   intellectual property rights which rightfully and lawfully belongs to the estate of


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  the plaintiff.

  49. Plaintiff further asserts that defendants have been notified of the unlawful

  infringement as complained of herein by way of letters to its principal ORION

  LABS, LLC.

  50. Plaintiff or plaintiff's counsel will amend this complaint to allege all of their

  true names and capacities when ascertained.

                                                  SUBSTITUTION OF COUNSEL

  51. During the course of this litigation, plaintiff intends to file a motion for

  substitution of counsel in order to substitute a competent law firm to protect

  the intellectual property rights and other rights of the plaintiff. Plaintiff or

   plaintiff's counsel will file a motion for substitution or will notify the court once

  such firm has been selected to represent the plaintiff.




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                                                 SERVICE OF PROCESS:

  52. Service of process can be perfected by serving the defendants, ORION
  LABS, LLC. through its Register Agent as follows:
                                               ALEX PATEL, AGENT OF PROCESS
                                               16830 VENTURA BLVD STE 360
                                               ENCINO CA 91436

  53.        Service of process can be perfected by serving the defendants

  Amazon.com Services LLC. by serving its Registered Agent at:

                              CORPORATION SERVICES COMPANY
                           300 DESCHUTES WAY SW STE 208 MC-CSC1,
                             TUMWATER, WA, 98501, UNITED STATES

  54. Service of process can be perfected by serving the defendants

            BEST BUY CO,INC by serving Principal Office and Chief Executive

                           Corie Barry, Chief Executive Officer
                           7601 Penn Avenue S.
                            Richfield, MN 55423

  55. Service of process can be perfected by serving the defendants

                      SETTER ROCHE, LLP by serving its Principal Office and Chief

                      Operating Officer at:

                        CHIEF EXECUTIVE OFFICER
                        14694 ORCHARD PARKWAY,
                        BUILDING A, SUITE 200, WESTMINSTER, CO 800023




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                                                 SERVICE OF PROCESS:

  56. Service of process can been perfected by serving the defendant

                      JESSE ROBBINS, Chief Executive Officer, has been or will be

           served with process by personal service at:

                                          208 UTAH ST, SUITE 350

                                         SAN FRANCISCO CA 94103



                                            AMENDMENT TO THE LAWSUIT

  57. The Plaintiff or plaintiff's legal counsel and representatives reserves the

  right to amend this lawsuit at any time prior to finaljudgment in this matter.




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              FACTUAL ALLEGATIONS —TRADEMARK INFRINGMENT

            SUBSTANTIVE ALLEGATIONS CONCERNING TRADEMARK
     I NFRINGMENT OF ORION LABS, LLC.'S INFRINGING MARK "SMART
                WALKIE TALKIE"—INFRINGING CONDUCT

  58. It is specifically alleged that "Orion Labs, LLC., Amazon.com Services,

  and BEST BUY, INC. ("Defendants") Willfully infringes by the use of a

  counterfeited mark and Designation In Interstate Commerce with Goods or

  Services where the Designation is Likely To Cause Confusion, Mistake, or

  deception, as to the affiliation, connection, Or Association Of The Defendant

  with Plaintiff products and a result of such activity Plaintiff has been or is likely

  to be damaged by these Acts, or will continue to be damaged by these acts.

  59. In a scheme, to conspire, steal and/or defraud U.S intellectual property,

  and to deprive plaintiff of his intellectual property rights OR/ON and its

  agents, have reaped millions of dollars in profits through employment of a

   pattern of racketeering activity, deceptive practices, and has mislead the

   public with respects to status and ownership and use of the SMART WALKIE

   TALKIEO, trademark being used as a counterfeit.

  60. The conspiracy originated from ORION LABS, LLC, and elsewhere,

  whereby the defendants employed predatory, unconscionable, deceptive, and

  fraudulent trademarks violation acts on its product packaging, and websites,




   COMPLAINT FO R WILLFUL TRADEMARK NFRIiVGEdIENT                                                 23
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  complained of herein, to use without license or authority plaintiff's intellectual

   property known as the SMART WALKIE TALKIEO, registered Trademark.

                                                       SMART WALKIE TALKIE O

                    U.S. REGISTRATION NO: 5,303,249; Registration Date: October 3, 2017

  Defendants Uses A Designation In Interstate Commerce with Goods or Services
   Where The Designation is Likely To Cause Confusion, Mistake, or deception,
   as to the affiliation, connection, Or Association Of The Defendant with another
          Person, and the Plaintiff has been or is likely to be damaged by these Acts

   61.         Plaintiff indisputably owns the entire right, title and interest in all

    common law and federally registered trademarks "SMART WALK/E

    TALKIE"O, including without limitation, all goodwill associated with the

    aforesaid             trademarks,                 U.S.         Trademark     Registration       No. 5,303,249

    Registered by the United States Patent &Trademark Offices on October 3,

    2007 (See Exhibit "7" -PLAINTIFF'S TRADEMARK SMART WALKIE

    TALKIE US. REG 5,303,249 Registration Date October 3, 2077.)

    62. Plaintiff's Trademark is which is prima facie evidence of the validity of

    Plaintiff's ownership and exclusive rights to use the federally registered

    mark shown therein in commerce, and are constructive notice of ownership

    thereof, as provided by Section 8(b) and 22 of the Lanham Act and

    Trademark Law Revision Act of 1988.

    63. Plaintiff's Federal statutory rights in the "SMART WALKIE TALKIEO

    marks commenced September 15, 2015 resulting in federal registrations on


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   October 3, 2017.

   64. The said intellectual properties in dispute are registerable with the

    Department of Homeland Security, U.S. Customs, and Border Protection

   Office of Regulations & Rulings, Intellectual Property Rights Branch

    Washington DC, and fully registered with the California Secretary of State.

   65. Plaintiff has been using the "SMART WALKIE TALKIE"O "WORLD

    WIDE WALKIE TALKIEO and INTERNATIONAL WALKIE TALKIEO

   trademarks in connection with his telecommunications, VoIP, international

    based business since at least as early as January 1999.

   66. Since adopting its "SMART WALKIE TALKIE"O trademarks in

   connection         with     telecommunication         services,      Plaintiff     has enjoyed

    widespread use of his trademarks as an indication of the source of its

    products and services.

   67. Plaintiff has expended substantial amounts of money, time, and effort in

    advertising, popularizing and promoting its "SMART WALKIE TALKIEO"

    trademark and invention so that the public has come to associate Plaintiff's

    trademark with products and services originating with Plaintiff.

  68. However, due to the leveraae of the amazina marketina power of

   Amazon, and Best Buy, defendant ORION uses an unfair business tactic

   and advantage over plaintiff ,whereas defendants are able to use the same


   COIIdPLALVT FO R WILLFUL TRADEMARKlNFRI.~IGEMENT                                                 25
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  trademarks as the plaintiff and leverage of its vast marketing network, and

  billion dollar organization to market plaintiff's marks, without a license, or

  authority, thereby, using the marks for its own purpose, unjustly enriching

  itself, but without a valid license resulting in unfair competition and fraud.

  69. The services offered by Plaintiff and defendants are confusingly similar

  to the consuming Public in that both plaintiff and defendants offers virtually

  the same Push To Talk SMART WALKIE TALKIEO type services and

  products leading to consumer confusion resulting in unfair competition.


  70. Plaintiff products and services are offered on a national and World Wide

  Basis. Plaintiff and affiliates has expended substantial amounts of money,

  time, and efforts in advertising, popularizing and promoting the "SMART

  WALKIE                TALKIE"O                  product                 concepts,    trademarks,         through      these

  international markets so that the global public has come to associate

  Plaintiff's trademark with services originating with Plaintiff

  71. Internet Protocol, and other telecommunications services, such as Wi-Fi,

  cellular, and satellite communications services.

  72. The SMART WALKIE TALKIE technology as specified in plaintiff's marks

  and designs is continuing to influence global wireless communications and is

   presently being offered by defendants and others but without a valid license



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  or authorization to use such trademarks.

                                                                    COUNT I:

                      TRADEMARK &PATENT INFRINGEMENT UNDER
                                THE LANHAM ACT AND
                 THE TRADEMARK LAW REVISION ACT OF 1988 AND THE US
                           Infringinq Conduct of Orion Labs

   73. Beginning in 2017 and other times thereafter, Plaintiff learned that

   Defendant began operating its telecommunication, push to talk business by

   introducing its ONYX "SMART WALKIE TALKIE" product and services via

   its Internet website under the trade name "SMART WALKIE TALKIE", (See

   Exhibit "4" — ORION LABS WEBSITE INFRINGEMENTS) a counterfeit

   trademark and cloned product in the form of a Onyx Smart Walkie-Talkies:

   Product -Orion Labs which is a push to talk product for purposes                                                of

   wireless telecommunications, or SMART WALKIE TALKIE services, and this

   product is market as a SMART WALKIE TALKIE on defendant's website,

   product literature, and in every aspect of the distribution of the product

   including on instruction manuals, and packaging.

   74. The thrust of the infringing conduct is that defendant use the exact

   same mark, which is indisputably owned by plaintiff, and uses it without a

   license or permission from the owner, and it is likely to cause confusion as

   to the source of the product or services because it directly infringes upon



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    plaintiff's Registered Trademark Smart Walkie Talkie0.

   75.        Defendant openly and willfully infringes upon plaintiff's federally

    registered trademark "SMART WALKIE TALKIEO" by continuing to

    knowingly use the exact same mark in commerce as plaintiff but without a

    valid license or authorization from the plaintiff even when advised to CEASE

    AND DESIST from engaging in the illegal activity.

   76. The federally registered trademark "SMART WALKIE TALKIEO" is

    indisputably registered to the plaintiff's telecom business and creates a

    likelihood of confusion when used by the defendants ORION LABS, LLC,

    AMAZON, BEST BUY, and the other named defendants and agents who

    market the product on the open market place.

   77. Defendants ORION LABS, LLC along with its network of dealers have

    consistently made fraudulent technology product reviews and press

    releases of its ONXY SMART WALKIE TALKIE technology and SMART

    WALKIE TALKIE trade name to the public, and have made product sale in

    virtually every State of the United States of America,                                  including on its

    Internet websites, distributor and agent websites, press releases, product

    literature, and many other media, including many Internet web pages which

    also unlawfully infringe on plaintiff's trademark SMART WALKIE TALKIEO,

    especially because the defendants use the same mark as the plaintiff, and


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    similar telecom services and products, which are confusingly similar to

    plaintiff's, in interstate commerce but without a license or permission from

    the plaintiff.


                 GOOD FAITH EFFORT MADE TO CORRECT THE INFRINGMENT
                  Exhibit 2 —NOTICE TO CEASE AND DESIST TO ORION LABS

    78. In prior good faith efforts to offer defendants a valid license of the

    federally protected trademark, the plaintiff had previously contacted the

    defendant ORION LABS, INC. CEO Jesse Robbins and provided him with an

    opportunity to license the mark and to also provided him with a NOTICE

    AND DESIST letter to stop the infringement activities.

    79. Rather than simply purchase a Trademark License, Defendants took a

    course of action to willfully infringe on plaintiff's right, claiming that it had full

    right to use the mark over plaintiff's trademark rights.

                      THE FRAUDULENT ATTORNEY LETTER RECEIVED FROM

         DEFENDANT'S COUNSEL —TOM SYLKE OF SETTER ROCHE, LLP

                                   EXHIBIT 2 —NOTICE TO CEASE AND DESIST

    80.       Exhibit "F" —THE FRAUD COMPLAINT is incorporate herein by

    reference as if fully setforth herein.

    81. Defendant's attorney sent plaintiff a fraudulent letter generally claiming

    that his client had the exclusive first use rights to use the mark in interstate


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    commerce, raising various moot claims and further indicated that the

    infringing use would not stop.

   82. However, the defendants have knowingly, willfully, and unlawfully,

    continued to use the intellectual products of the plaintiff without proper

    authorization, perpetrating unfair competition all to the detriment to the

      laintiff, in express violation of federal and state trademark law.

   83. ORION LABS, LLC, by unlawful use of the confusingly similar mark in

    commerce, take undue advantage of plaintiff's trademark rights and thus

    fosters an environment which violates the trademark laws of the state of

    California, and the United States of America.

   84. Defendant ORION LABS, LLC, or any of its agents, and distributors has

    never made any payments, including royalty payments, to the plaintiff for

    use of the SMART WALKIE TALKIEO trademark and continues to

    knowingly use these intellectual properties without a license, which

    constitute in part, unfair competition.

    85. Unless enjoined, the defendants will continue these unlawful infringing

    activities causing irreparable economic loss to the plaintiff and affiliates.

    86. Plaintiff request an immediate hearing on the injunctions complained of

    herein in order to prevent further economic injury to the plaintiff and to

    maintain the status quo of the state and federal trademark laws.


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   87. Defendant, and agents has willfully made, used, sold, and/or offered for

   sale, products, namely its SMART WALKIE TALKIE line of VoIP products

   embodying the plaintiff's SMART WALKIE TALKIEO registered trademark

   without limitation, offers to license to other companies, and to sell to the

   public in every U.S. State, but without a proper license, thereby infringing on

   the intellectual property rights of the plaintiff's SMART WALKIE TALKIE

   registered trademark, and will continue to do so unless enjoined therefrom.

   88. Defendants are fully aware of these infringing activities but continue to

   infringe the SMART WALKIE TALKIEO trademark.

   89. Plaintiff further pointed out to the defendants that indeed plaintiff's

   property required a license. (See EXHIBIT "2" —NOTICE TO CEASE &

   DESIST TO ORION LABS, LLC.)

   90. Defendants ORION LABS, LLC. via its attorneys and agents, namely C.

   Thomas Sylke and Setter Roche, LLP however, sent the plaintiff a

   fraudulent letter raising several moot issues and, advised that they had no

   intention on paying for a license, or would not even cease and desist from

   the use of the marks.. (See Exhibit "3" —Orion Labs Letter dated 1-18-

   2018)




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                             FRAUD —WILLFUL INFRINGMENT ACTIVITES

                                                    JANUARY 18, 2018

   91. Exhibit "F" and "3" are incorporated herein by reference as if fully

    incorporated herein by reference.

   92. In an effort to bypass the infringing activities without correcting the

    problems, the defendants raised several moot issues and lame excuses

    with trivialities in a response letter dated January 18, 2018 as to why they

    were entitled to use the mark over plaintiff, but this letter was under the

    guise of propriety with fraudulent intent.(See Exhibit #3)

   93. Plaintiff asserts that this lame excuse representation described herein

    and in the purported response letter of January 18, 2018 represents an

    admission by the defendants and further was a material misrepresentation

    made simply to avoid the licensing of plaintiff's protected trade name and to

    further continues to defraud, and infringe on plaintiff's trademarks rights

    granted by federal law.

    94.     Having full knowledge of the plaintiff prior trademarks rights, the

    defendants have continued to conduct a mass marketing campaign which is

    designed to infringe the plaintiff rights and ownership in the SMART

    WALKIE TALKIEO, trademarks.




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   95. The Defendants had further advised the plaintiff through counsel Mr. C.

    Thomas Sylke, Trademark Counsel, that ORION Labs flatly refuse to stop

    the infringement in his response letter" to plaintiff and further advised that

    absolutely they would continue to use the SMART WALKIE TALKIEO

    trademark/service mark without a license because they had a right to do so

    based on "FAIR USE" which was a fraudulent misrepresentation on its face.

   96. The continued unlawful infringing use and infringement activities, in

    commerce in the United States without authority, or license granted by the

    plaintiff constitutes willful infringement.

                  A PRELIMINARY INJUNCTION WILL BE REQUIRED

   97. A preliminary and permanent injunction is required to maintain the

    status quo of the trademark laws of the State of California and the laws of

    the United States of America and to prohibit the defendants from continuing

    to cause economic loss to Plaintiff.

    98.     Plaintiff contends that these acts are done willingly, knowingly,

    fraudulently, intentionally, and will continue to injure the plaintiff if not

    i mmediately enjoined by this court and defendants should be permanently

    enjoined from the use of the mark SMART WALKIE TALKIEO.




   COMPLAINT FO R WILLFUL TRADEMARK INFRINGEMENT                                                   33
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   et al


  99. Plaintiff asserts to this Court that the defendants are still knowingly,

  willfully, intentionally, and unlawfully using the property without a license,

  without legal justification, and without permission from the plaintiff and such

   unlawful actions should be immediately enjoined in order to prevent further

  financial and economic damage to the plaintiff.

   100. Plaintiff request an immediate hearing on the Motion for Injunctive

   Relief, and shortly thereafter issue a permanent injunction against the

  defendants permanently enjoining the infringing conduct complained of

   herein.

   101. On information and belief, Defendants began using the mark "SMART

   WALKIE TALKIE" in 2017, subsequent to commencement of Plaintiff's

   common law, State, and Federal statutory rights in its SMART                            WALKIE

   TALKIE" U.S trademarks and California Registered Trademark.

   102. Defendants counsel or legal representatives failed to properly follow up

   on Plaintiff's cease and desist letter and did not properly respond

   substantively despite the cease and desist letter that was sent to them.

   103. Rather than contact the plaintiff for a license, the defendants purport to

   believe that it had full right to use plaintiff's famous trademark "SMART

   WALKIE TALKIEO" without a valid licensing, and simply unlawfully converted

   for its own use plaintiff's trademarks, and continued to use the plaintiff's


   COMPLAINT FO R WILLFUL TRADEMARK NFRIi'VGEMENT                                                 34
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   intellectual property, but without a valid license, or proper legal authorization

  from the plaintiff.

  104. Plaintiff fully asserts that the representation made by defendants in their

   letter dated January 18, 2018 to the plaintiff is nothing more than fraudulent

   matter which seeks to infringement plaintiff's federally registered trademark

   rights, and to further convert this intellectual property to defendants own use

  and control.

   105. Defendants have asserted unlawful control and dominion over plaintiff's

  federally trademarks, resulting in severe economic loss to the plaintiff.

   106. Because of the identical services and products offered by plaintiff and

  defendant, the consuming public has been mislead and defrauded as to the

  source of products and services offered by the plaintiff and defendant.

   107. Moreover, defendants purported misrepresented "Settlement Letter"

   was nothing more than a admission of infringement of the SMART WALKIE

  TALKIEO federally registered trademark and acknowledgement that the

   defendants would in fact unlawfully continue to use the mark in commerce

   without the permission of the plaintiff, thereby knowingly willfully, and

   intentionally infringing on the plaintiff's intellectual property rights.




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                       UNLAWFUL INFRINGEMENTS BY ORION, AMAZON, AND
                                       BEST BUY
                             EXHIBIT 6 -AMAZON INFRINGMENTS

  108. The preceding paragraphs and Exhibit "F" the fraud complaint, are

  incorporated herein by reference as if fully setforth herein.

  109. It is alleged that AMAZON has infringed the said SMART WALKIE

  TALKIE trademark by it continued use of the plaintiff's mark as illustrated in

  Exhibit 6 attached herein and made a part hereof.

  1 10. Unless AMAZON is enjoined from it illegal and improper use of the

  mark by the court, defendant will continue its campaign of unlawful

  infringement to violate the trademark rights of plaintiff by continuing the use

  the mark in commerce without permission and without a valid license causing

  further and continuing financial damages to plaintiff.

              EXHIBIT 7 —BEST BUY INC. INFRINGMENT

  1 11. The preceding paragraphs and Exhibit "F" the fraud complaint, are

  incorporated herein by reference as if fully setforth herein.

  1 12. It is alleged that BEST BUY has infringed the said SMART WALKIE

  TALKIE trademark by it continued use of the plaintiff's mark as illustrated in

  Exhibit 7 attached herein and made a part hereof.



   1 13. Unless BEST BUY is enjoined from it illegal and improper use of the


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  mark by the court, defendant will continue its campaign of unlawful

  infringement to violate the trademark rights of plaintiff by continuing the use

  the mark in commerce without permission and without a valid license causing

  further and continuing financial damages to plaintiff.



   1 14. As shown in the several pages of Exhibit 3, EXHIBIT 4, EXHIBIT 6,

   AND EXHIBIT 7, and well exhibited in many other places, especially on the

   Internet, Defendant's and its agents continued unlawful use of Plaintiff's

   SMART WALKIE TALKIE trademark and technology is made without

   Plaintiff's permission and are made with constructive and actual notice of

   Plaintiff's prior use and rights in the said trademarks for telecommunications

   services and whereas, these unlawful activities have caused confusion and

   is likely to continue to cause further confusion, or mistake, or to deceive and

   defraud the public simply because the defendants use the exact same mark

   "SMART WALKIE TALKIEO" as plaintiff to market its                                                  ONYX SMART

   WALKIE TALKKIE push to talk device.


   1 15. Defendant's actions have caused confusion, and are likely to continue

   to cause confusion, mistake or deception, all to Plaintiff's irreparable injury

   and Defendant's unjust enrichment, and benefit in violation of 15 U.S.0



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   Sections 1114(x)(1)(Section 32 of the Lanham Act)


    1 16. Plaintiff has no adequate remedy at law and has suffered and will

   continue to suffer irreparable harm if the unlawful and intentional acts of

    Defendants are allowed to continue.



               FALSE DESIGNATION OF ORIGIN UNDER THE LANHAM ACT
                AND THE TRADEMARK LAW REVISION ACT OF 1988


    1 17.    Plaintiff re-alleges each and every preceding paragraph including

    Exhibit "F" the Fraud Complaint by reference as if fully setforth herein.

    1 18. The Defendant's unlawful and unauthorized use of Plaintiff's SMART

    WIDE WALKIE TALKIE trademark, are made without Plaintiff's permission,

    and with full knowledge of Plaintiff's prior use and rights in its trademarks,

    and further unlawfully trades on the goodwill which has been developed in

    Plaintiff's trademarks and moreover, is a false, fraudulent, and misleading

    representation of origin which as caused and is likely to continue to cause

    mistake, or to deceive the public as to the affiliation, connection or

    association of Defendant with Plaintiff or as to the origin, license,

    sponsorship or approval of Defendant's services by the Plaintiff.




   CO1t1PLA1NT FO R WILLFUL TRADEMARK NFRINGEMENT                                                 38
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  1 19. The Defendant's acts as aforesaid constitutes false designation of origin

  fraud, and a false description or representation tending falsely to describe

  and represent the source of Defendant's services which acts were/are

  intended to mislead the public into believing that Defendant is associated with

  Plaintiff's SMART WIDE WALKIE TALKIEO, service trademark and/or

  plaintiff's wireless telecommunications product known as the SMART

  WALKIE TALKIE, but which in fact, plaintiff has no such association with

  defendants.

  120. Defendant's willful infringement activity of SMART WALKIE TALKIE is

  clear and convincing and unless enjoined from the infringing activities, plaintiff

  will continue to experience substantial economic loss.

  121. The Defendant's aforesaid acts are in violation of 15 U.S.C. 1125(a)

  Section 43(a) of the Lanham Act and should be immediately enjoined.

  122. The Defendant's activities are intentional acts and are causing confusion

  to the public to the detriment of Plaintiff and in plaintiff's business reputation

  and constitute a fraud on the public.

   123. Plaintiff has no adequate remedy at law and will suffer irreparable harm

   if the acts of the Defendants are not enjoined or are allowed to continue.




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                                                              COUNT III:

    124. Plaintiff re-alleges each and every preceding paragraphs including

    Exhibit "F" the Fraud Complaint by reference as if fully setforth herein.


               CALIFORNIA REGISTERED TRADEMARK 8~ COMMON LAW
                           TRADEMARK INFRINGEMENT

   125. Plaintiff has had continued use in commerce of the SMART WALKIE

  TALKIEO Registered trademark in the state of California, in connection with

  telecommunications services which establish state law and common law

  trademark rights of the Plaintiff in the said registered trademark within the

  State of California (Exhibit 1A) and in every state of the Union, because the

   plaintiff also uses and controls the Internet domain name SMART WALKIE

  TALKIEO, located on the Internet at SmartWalkieTalkie.net which is used to

   market, and sell plaintiff's telecommunications products and wireless services

   in the United States and internationally, including without limitation plaintiff

   products and services relating to telecommunication's services, marked by

  SMART WALKIE TALKIE technology and trademarks in California.

   1 26. By reason of its use, the public and trade have come to identify the

   SMART WALKIE TALKIEO federally registered trademark with the services

   and wireless products of Plaintiff who offers wireless Internet and Voice Over




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   I nternet Protocol telephone and wireless services similar to defendant's

  services.

  127. In fact, defendants ORION LABS, LLC., AMAZON, and BEST BUY

  SMART WALKIE TALKIE services are identical to the services and products

  of the plaintiff to the event that all of the services offered are logically

  equivalent in nature and offering.

  128.         Defendant's unauthorized use of the "SMART WALKIE TALKIEO"

  trademark has caused and is likely to continue to cause members of the

   public to believe that the Defendant's push to talk services are offered by way

  of a license or other agreement with Plaintiff, which in fact they are not.

                                                            U NFAIR COMPETITION

   129. Additionally, this unauthorized use of the plaintiff's SMART WALKIE

  TALKIEO trademark without a valid license unlawfully infringes on plaintiff's

  state and federally protected trademark rights, and further causes public

  confusion as to the source of products and services, thereby fostering an

   unfair competition environment.

   1 30. Defendants further purport to own this mark in its advertising activities

   which further cause confusion as to the owner of the mark and source of

   products and services connected with plaintiff's trademarks.




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  131. Defendant's continued unlawful use of the "SMART WALKIE TALKIEO"

  trademark is being made without restriction and without the control which

  would be present in a trademark license agreement, and thus Plaintiff has no

  control over the manner and quality with which such trademarks are used by

  Defendants. These false representations are made knowingly.

                                                    U NJUST ENRICHMENT

    1 32. Defendant's use of the SMART WALKIE TALKIEO trademarks has

  caused, and will continue to cause, a likelihood of confusion, mistake or

  deception, all to the Plaintiff's irreparable injury and Defendant's unjust

  enrichment and benefit in violation of Plaintiff's common law and federally

  protected trademark rights and further constitutes fraud on the public

  because the public is mislead into believing that Nextel or ORION LABS,

  LLC.. and the other named defendants are the actual owners of this

  trademark, which in fact they are not.

  1 33. Plaintiff has no adequate remedy at law and has suffered and will

  continue to suffer irreparable harm as a result of these fraudulent and flagrant

  infringements if these unlawful acts of the Defendants are allowed to

  continue.




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  ALFRED MCZEAL JR. VS. AMAZON.com SERVICES. LLC   Trademark Infringement, Fraud, Racketeering   ~}


                                             COUNT IV:

     VIOLATION OF THE FEDERAL TRADEMARK DILUTION ACT OF 1995

   1 34.   Plaintiff re-alleges each and every preceding paragraph including

  Exhibit "F" the Fraud Complaint by reference as if fully setforth herein.

   1 35. Defendants have violated the Federal Trademark Dilution Act of 1995

  which expands the scope of rights granted to the plaintiff to the extent that

   plaintiff's mark is a famous and distinctive trademark which qualifies under

  the Federal Trademark Dilution Act of 1995.

   1 36. Defendants continued unauthorized, and unlawful use of plaintiff's

  famous federally registered trademark "SMART WALKIE TALKIE"O has

  caused dilution of the plaintiff's "distinctive quality" of the mark.

   1 37. These acts are willfully being done with full knowledge of plaintiff prior

   rights to use the mark in commerce granted by the U.S. Patent &Trademark

  Office and defendants are liable for treble damages under the Lanham Act..

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   1 38. Further in regards to this cause of action, there is no need to prove

   likelihood under the Lanham Act, nor is there any need to show competition

   between the goods of the plaintiff and the defendant. Therefore, dilution exist

   because the defendants use the same famous mark as the plaintiff even if the

   defendants were to claim that the goods and services bears no relation to the


   COMPLANT FO R WILLFUL TRADEMARK INFRINGEMENT                                                  43
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  goods or services of the plaintiff's famous mark and further because the

  defendants as shown herein, causes the dilution of the mark, by simply using

  the said mark in commerce to market its own products and services such as

  the ONXY SMART WALKIE TALKIE                                     (located at Orion on the Internet)

  service as used by the defendants in marketing and adverting within the

  jurisdiction of this Court and United States of America.

  139. In regards to this cause of action, plaintiff asserts that "Blurrin ", has

  occurred by which the connection in consumer's minds between the plaintiff's

  mark (SMART WALKIE TALKIEO and the plaintiff's goods or services is

  weakened and the defendants are the proximate causes of the blurring

  complained of herein.

  140. Plaintiff further asserts that "TarnishmenY' has occurred because

  defendant's use of the mark is unsavory or unwholesome, or the mark is used

  in connection with inferior products and services not related to the mark of the

  SMART WALKIE TALKIEO trademark.

  141. Plaintiff further asserts that Defendants use of the plaintiff's famous

   mark is willful, intentional, and unjust and thus treble damages may be

  applied in addition to actual damages and injunctive relief under law.




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  142. As provided under the Federal Trademark Dilution Act, this court may

  examine all of the following factors that clearly show that the dilution act has

  in fact been violated by the Defendants and their agents, namely:


       1. The duration and extent of advertising for the mark;(world wide)
       2. The geographic area in which the mark has been used; (world wide)
       3. The degree of distinctiveness of the mark (either through the nature of
          the mark itself, or through acquired distinctiveness);
       4. The degree of recognition of the mark;
       5. The method by which the product was distributed and marketed (the
          "channels of trade"); (internet)
       6. The use of the mark by third parties; and
       7. Whether the mark was federally registered as stated herein above:


  143. It is specifically alleged herein that the defendant willfully sought to

  "trade on the plaintiffs reputation or to cause dilution of the mark," and

   plaintiff is further entitled to attorneys fees, monetary damages, and even

  treble damages, because the defendants willfully continue to trade or use the

   mark, SMART WALKIE TALKIEO, without a valid license or permission, in

  commerce and have knowingly and willfully ignored plaintiff's requests to

  either license or cease and desist from using the mark in commerce.

   144. Plaintiff has no adequate remedy at law and has suffered and will

  continue to suffer irreparable harm if the acts of the Defendant are allowed to

  continue.




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                                                            COUNT V:

                 U NFAIR COMPETITION IN VIOLATION OF LANHAM ACT
                                 AND STATE LAW

  145. Plaintiff re-alleges each and every preceding paragraph including

  Exhibit "F" the Fraud Complaint by reference as if fully setforth herein.

  146.        By unlawfully infringing upon the intellectual property rights of the

  plaintiff, the Defendants have engaged in unfair competition prohibited by

  law because the unlicensed or unauthorized acts complained of herein are

  comprised of torts that have caused and is continuing to cause economic

  injury to plaintiff's business, through a fraudulent, deceptive and/or wrongful

  business practices, and because these torts are meant to confuse consumers

  as to the source of the products or services.

  147. Plaintiff further alleges that the unfair competition is in fact trademark

  infringement, as complained of below, misappropriation, fraud, false marking,

  trademark dilution, false advertising, deceptive selling tactics which confuse

  the public, unauthorized use of plaintiff's intangible assets, unauthorized

  substitution of plaintiff's goods and services for another, and false

   representation of products or services by the defendants.




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  ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES, LLC   Trademark Infringement, Fraud, Racketeering   4'7
  . et al


  148. These acts constitute unfair competition, in violation of Section 1125 of

  the federal Lanham Act, The California Trademark Law, and the Deceptive

  Trade Practices Act of this State.

                                               COUNT VI:

           VIOLATION OF CALIFORNIA REGISTERED TRADMARK ACT

                               ("Trademarks")
  149. Plaintiff re-alleges each and every preceding paragraphs including

  Exhibit "F" the Fraud Complaint by reference as if fully setforth herein.

  150. Defendants use of the plaintiff's `SMART WALKIE TALKIEO" trademark

  cause likelihood of confusion or of misunderstanding as to the licensing,

  approval or certification of the services of the Defendant.

  1 51 Defendants adoption and use of the plaintiff's "SMART WALKIE

  TALKIEO" trademark is/was being done with actual knowledge of Plaintiff's

   prior rights in said trademarks and with the willful intent of capitalizing on the

  _good will and mark recognition held by Plaintiff, and with the willful intent of

   harming Plaintiff's business in the State of California in express violation of

  the Secretary of State issuance of the registered Trademark..

   152. Plaintiff asserts that the aforesaid acts are in violation The California Unfair

  Practices Act, beginning at Section 17000 of the California Business &Professions Code

  which prohibits unfair competition and "any unlawful, unfair or fraudulent business act or

   practice and unfair, deceptive, untrue or misleading advertising.".


   COMPGAL~T FO R WILLFUL TRADENG4RKl~'FRINGEMENT                                                 47
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  153. Plaintiff has no adequate remedy at law and is presently suffering, and

  will continue to suffer irreparable harm if such actions are allowed to continue.

  154. The hardship upon Plaintiff which will ensue from not enjoining further

  infringement of the Patent (or trademark) is that the defendant will negligently

  continue to unlawfully infringe the claims of the issued patent,(and federally

  registered trademark) uniustly enriching themselves, without paying

  licensing fees, and/or royalties to the plaintiff, resulting in great financial loss

  to the plaintiff.

  155. The unlicensed use of the federally and state registered protected

  trademark "SMART WALKIE TALKIEO in commerce and used by the

  defendants is an infringing activity which will continue by the defendants

   unless enjoined by this court.

   1 56. The issuance of the injunction will not disserve the public interest. To the

  contrary, granting the injunctive relief sought will serve the express national

   policy of protecting federally created patent and trademark rights.

   157. For these reasons, Plaintiff seeks a temporary restraining order, a

   preliminary injunction, and a permanent injunction against defendant ORION

   LABS, LLC.., AMAZON, and BEST BUY and each and every defendant,

   using the mark in commerce including the unknown defendants respectively

   referred to herein as the DOE's 1 though 1,000 permanently restraining them


   CO.b1PL~l1:~-T FU R GV[LLFUL T29DE:b1,1RK I:VFRI_~~GEMENT                                                 48
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  from continuing to use the trademark "SMART WALKIE TALKIEO in

  commerce and in its advertising and marketing efforts                                                  or on its Internet

  website.

  158. Infringement of the federally protected and state registered trademark

  results in irreparable injury to the Plaintiff for which there is no adequate

  remedy at law.

  159. Congress, in recognition of this fact, has enacted 11 U.S.C. §1116,

  expressly authorizing injunctive relief against trademark infringement in order

  to preserve the federally mandated monopoly created by federal law for the

  benefit of the trademark holder.

  160. Plaintiff requests all of the following in the temporary restraining order,

   preliminary injunction and permanent injunction:

      (a) That an order be issued from this court enjoining the trademark

                 infringement activities complained of herein, namely, that defendants

                 be immediately enjoined from using the federally protected and

                 common law trademark "SMART WALKIE TALKIEO" over its website

                 and            marketing                 and             advertising      activities,      ADVERTISING

                 MAGTERIALS, and,

       (b) an order issued from this court ordering an accounting of defendants

                 profits for the years 2017,2018, 2019, and 2020.


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      (c) An order issued by this court ordering the defendants, attorneys, and

                all those in active concert to permanently cease and desist use of the

                federally protected trademark "SMART WALKIE TALKIEO" and,

      (d) An order issued by this court ordering the defendants, attorneys, and

                all those in active concert to permanently cease and desist use and

                sale of the so called Onyx "SMART WALKIE TALKIE" product

                line which unlawfully infringes the plaintiff issued patent.




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   et al


                        Count Vll: Unfair Competition (Marilyn Law)

               Section 13-301 - Unfair or deceptive trade practices

         161. The Previous paragraph and Exhibit "F" is incorporated herein by

  reference as if fully setforth herein.


         162. It is alleged herein that the said unlawful infringing acts constitute

  U nfair and Deceptive Trade Practices which violate California Business

  and Deceptive Trade Practices Act.


     (1)Defendants have False product marking with the trademark of another,

         falsely disparaging, or misleading oral or written statement, visual

         description, or other representations which has the capacity, tendency,

         or effect of deceiving or misleading consumers with the use of plaintiff's

         SMART WALKIE TRADEMARK O.


       (2) Representation that Consumer goods, consumer realty, or consumer

  services have a sponsorship, approval, accessory, characteristic, ingredient,

  use, benefit of SMART WALKIE TALKIEO services but which in fact they do

   not have.




  COMPLALVT FO R WILLFUL TRADEMARK INFRIiVGEMENT                                                  51
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   et al


                          Count Xlll: -Negligent Misrepresentation

                            DECEIT AND MISREPRESENTATION

         163. The Previous paragraph and Exhibit "F" is incorporated herein by

  reference as if fully setforth herein.

         164. It is alleged herein that the said unlawful infringing acts constitute

  deceit and Negligent Misrepresentation in that:

        (1)Defendants have made intentional false representations that it has a

              license to use the trademark Smart Walkie Talkie O, and

        (2)Defendants have made intentional false representations that despite

             governing federal trademark law, it has the exclusive right to use

              plaintiff's Smart Walkie Talkie0 trademark freely without a license,

             and,

        (3) Defendants have made intentional false representations that despite

             governing federal trademark law it has the right to employ the "Fair

              Use" practices act in order to avoid licensing the trademark and/or

             avoid compliance with the federal Lanham Act.

         (4) Plaintiff and the consuming public was induced into believing that

              defendants false acts were true.

         (5) Plaintiff has suffered great economic loss and damages as a result

              of defendants willful infringement and fraudulent representations.


  COMPLAINT FO R WILLFUL TRADEMARK 11VFRINGEMENT                                                  52
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                  Count IX -FRAUD: EXBH/T "F" COMPLAINT FOR FRAUD

           165. The Previous paragraph and Exhibit "F" is incorporated herein by

  reference as if fully setforth herein in accordance with Rule 9(b)for the

  Federal Rules of Civil Procedure.

           166. It is alleged herein that the said unlawful infringing acts constitute

  actionable FRAUD because:

          (i)       Defendants have made false representations to the public and to

                         plaintiff regarding its use of the Smart Walkie Talkie O

                        Trademark, and

          (ii)      the representation's falsity was either known to the party making

                        the representation or that the representation was made with

                         reckless indifference as to its truth, and

          (iii)     the misrepresentation was made for the purpose of defrauding the

                         plaintiff, and

          (iv)      the plaintiff relied on the misrepresentations and had the right to

                         rely on it, and

          (v)        the Plaintiff has suffered compensable injury resulting from the

                         misrepresentations.

                         Further Exhibit "F" The fraud complaint more specifically

                         demonstrates the fraud committed by defendants.

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                                                      COUNT X:

                                                   CONVERSION

   167.      Plaintiff repeats and re-alleges the preceding paragraphs of this

  Complaint and incorporates them herein by this reference.

   168. ORION LABS, LLC., AMAZON, has unlawfully asserted dominion and

  control over plaintiff's assets and intellectual property exclusively and

   indisputably owned by plaintiff by taking or converting the plaintiff's property

  to themselves, unjustly enriching themselves, without legal authority and

  converting it for its own self serving use. As a direct and proximate result of

   defendants ORION LABS, LLC.'s wrongful acts complained of herein, plaintiff

   has been injured in an amount to be determined at trial in excess of $100

   Million (U.S. Dollars)

                                                           (93)

                                                      Cnl1NT XI'

                                            GROSS NEGLIGENCE

   169.       Plaintiff repeats and re-alleges the preceding paragraphs of this

   Complaint and incorporates them herein by this reference.

   170. It is alleged that defendants are grossly negligent as it relates to the

   i mproper and unlawful use of plaintiff's trademark SMART WALKIE TALKIE O

   trademark in commerce.


   CO.LLPLANT FOR 6G7LLFUl T2dDE:bLdRk'l~VFRLVGE~1fE~b'T                                                   54
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  171. Defendant, OR/DN LABS, LLC, AMAZON, knowingly and willfully

  misrepresented to the public, including its investors, dealers, agents,

  distributors, the U.S press, the Internet press, and the International press that

  it was and is the exclusive owner of the SMART WALKIE TALKIEO patented

  technology, and trademark in California and the United States in general.

  However, as setforth herein this representation is false and misleading to the

  public as the defendants are not the lawful owners of the mark or the SMART

  WALKIE TALKIE technology.


  172. Defendant, ORION LABS, LLC, knowingly and willfully misrepresented

  to the public, including its investors, dealers and agents, distributors, the U.S.

   press, the Internet press, and the International press that it was and is

  authorized to offer for sale and sell the famous trade name SMART WALKIE

   TALKIEO federally registered trade name.

  173. However, Plaintiff has never authorized the use of the trade name to the

  defendants.

   174. The defendants are presently, and knowing, and intentionally using this

   mark without a license, and with full intent to deprive plaintiff of his federally

   protected trademark in both the SMART WALKIE TALKIEO trademark.




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  ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES, LLC                   Trademark Infringement, Fraud, Racketeering   5(~
  . eta/


  175.         ORION LABS, LLC. has engaged in unlawful, fraudulent, misleading

  conduct which creates a likelihood of confusion or misunderstanding

  regarding the goods and services supplied by plaintiff and defendant ORION

  LABS, LLC..

  176. At present, the consuming public on a national and/or international

  scale are lead to believe that defendants are the owners of the SMART

  WALKIE TALKIE O trademark, but in fact they are not.




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  ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES, LLC                        Trademark Infringement, Fraud, Racketeering   5'7
  . et al


                                                                   COUNT XII:


                                     CONSPIRACTY TO VIOLATE 18 USC ~1962(c)

                            RACKEETEER INFLUENCE CORRUPT ORGANIZATION

                          SUBSTANTIVE ALLEGATIONS CONCERNING
                     VIOLATIONS OF THE RACKETTER INFLUENCED CORRUPT
                                  ORGANIZATION ACT

  177. Plaintiff re-allege, as if fully set forth herein, each allegation set

  forth herein above.

  178. The defendants along with their employees, and agents, herein

  conspired among themselves to violate 18 U.S.C. §1962(c), by

  agreeing to conduct or participate in the affairs of the enterprises

  referred to in this complaint through a pattern of unlawful racketeering

  activity and committed more than two acts of racketeering activity,

  including but not limited to accounting fraud, fraud, theft, and

  conversion, one of which occurred after the effective date of this

  racketeering chapter and the last of which occurred after the effective

  date of racketeering chapter and the last of which occurred within ten

  years after the commission of a prior act of racketeering activity and

  the racketeering activity is ongoing by the defendants.




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  ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES, LLC                     Trademark Infringement, Fraud, Racketeering    Sg
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  179. The racketeering complained of includes but is not limited to, intellectual

  property theft, conversions, accounting fraud which wrongly accounts for

  illegal use of licensing, U.S patents and trademarks, frauds and swindles,

  fraud, theft of patented technology protected under U.S. law, and of moneys

  illegally gained from the unauthorized use, sale, or licensing of plaintiff's

  intellectual property described herein, and related to the SMART WALKIE

  TALKIE/WORLD WIDE WALKIE TALKIE, and fraudulent claims made to the

  public by the defendants, regarding the status of defendants use of

  intellectual property owned by the plaintiff, and several unlawful attempts to

  otherwise gain unlawful monies generated from the unlawful use of plaintiff's

  famous federally registered trademark SMART WALKIE TALKIEO and

  patented technology as setout herein above.

   180. At all times relevant herein, it is alleged that the defendants, their

  employees, agents, attorneys, and all other persons acting in concert or

  purporting to act as representatives for the defendants, had devised a

  scheme, such as the letter dated January 18, 2018, or artifice to defraud, or to

  obtain money or property from the illegal use and sale of plaintiff's intellectual

   property by means of false, or fraudulent pretenses, or to procure for unlawful

   use counterfeit devices, (SMART WALKIE TALKIE) or spurious coin, and

  other devices used to defraud for the sole purpose of defrauding plaintiff and


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  ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES, LLC               Trademark Infringement, Fraud, Racketeering    59
  . et al


  the public of monies which were/are unlawfully gain and conversion of

   intellectual property rightfully and justly belonging to plaintiffs personal and

   business estate in violation of 18 U.S.C. §1341.


   181. At all times pertinent herein the defendants knowingly delivered or

  caused to be delivered fraudulent matter via electronic wire, or email, to aid

  them in the commission of the acts complained of herein and did many times

  as complained of herein, advertise fraudulent documents, and devices and

  the said fraudulent documents was addressed to the public and plaintiff in

  further violation of 18 U.S.C. Section 1341.

   182. It is further alleged that the acts committed by the defendants were

   unlawful in every respect because the defendants, attorneys, employees, or

  associates with the defendants conducted, lead, managed or directed the

   affairs of the enterprise by using fraud, conversion, conspiracy, and other

   unlawful means to run the ORION LABS, LLC. enterprise. ORION LABS,

   LLC. was the enterprise conducted.

   183. The pattern of racketeering included criminal conduct that is related to

   theft of intellectual property, conversion, and "hijacking" of plaintiff's

   intellectual property and was continuous up until the filing of this lawsuit. The

   predicate acts extended from early 2017 and continues throughout


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  ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES, LLC                   Trademark Infringement, Fraud, Racketeering   60


  January 2021 is comprised of long term criminal conduct by the defendants.

  184. For example, the defendants committed several acts of long term money

  laundering as setout herein by conducting or attempting to conduct financial

  transactions as set out above, and which the defendants knew involved the

  proceeds from unlawful infringing activity, conversions, theft, and with the

  intent either to promote or further the unlawful activity.

  185. With the deployment of deceptive practices the defendants were able to

  obtain millions upon millions in sales &credit transactions for themselves. The

  individual defendants named herein were employees of or associated with the

  enterprise.

  186.         The enterprise comprised attorneys, investors, employees, agents,

  dealers, and others to accomplish the said unlawful acts. On information and

  belief, the department of Homeland Security, department of Intellectual

   property, the Federal Bureau of Investigation (FBI) and/or other federal and

  state agencies are presently investigating the infringement activities and theft

  of the intellectual property complained of herein.




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  ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES, LLC                    Trademark Infringement, Fraud, Racketeering   61
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                                             Section 1961 RICO Violations

   187. Plaintiff's re-allege, as if fully set forth herein, each allegation above.

  Prior too and while in the course of contacting ORION LABS, LLC., the

  defendants committed the following non-exclusive acts of Racketeering all in

  violation of Section 1961. The following non-exclusives acts includes but is

  not limited to all of the following:


                                (a) Sections 891-894 violations relating to extortionate
                             credit transactions; and,

                                (b) Section 1028 violations relating to fraud and related
                             activity in connection with identification documents, including
                             but not limited to intellectual property claims, and,

                                 (c) Section 1029 violations relating to fraud and related
                             activity in connection with access devices, including but not
                             limited to computing access devices, the intellectual property
                             account number of plaintiff patents and trademarks, computing
                             networks, and private and public data networks, and,

                                   (d) Section 1341 violations relating to mail fraud; and,

                                   (e) Section 1343 violations relating to wire fraud, and,

                                   (f) Section 1344 relating to financial institution fraud, and,

                                 (g) Section 1956 violations relating to the laundering of
                              monetary instruments, including but not limited to unlawfully
                              licensing contracts between the defendants and other
                              companies, and,

                                 (h) Section 1957 violation relating to engaging in monetary
                              transactions in property derived from specified unlawful
                              activity), namely intellectual property theft, and conversions.


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                                            Section 1962 RICO Violations

  188. The preceding paragraph of this complaint are incorporated herein by

  reference.


  189. It is specifically alleged that the defendants committed many unlawful

  acts regarding racketeering activity, and has received unjust income derived,

  directly or indirectly, from a pattern of racketeering activity, or through the

  unlawful use, sale, and licensing intellectual property belonging to the plaintiff,

  including but not limited to SMART WALKIE TALKIEO ,World Wide Walkie

  Talkie0 and which the defendants has participated as a principal within the

  meaning of section 2, title 18, United States Code, and the said acts are

  indictable under the Currency and Foreign Transactions Reporting Act.

  190. It is specifically alleged that the defendants named herein caused to use

  proceeds, or invest, directly or indirectly any part of such income converted or

  unlawfully channeled from the plaintiff, or the proceeds of such income, in

  acquisition of intellectual property real estate interest in, or the establishment

  or operation of, any enterprise which has engaged in, or the activities of

  which affect, interstate or foreign commerce.

  191. Plaintiff has no adequate remedy at law and is presently suffering, and

  will continue to suffer irreparable harm if such actions are allowed to continue.



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  ALFRED MCZEAL. JR. VS. AMAZON.com SERVICES, LLC    Trademark Infringement. Fraud, Racketeering   63


                      CONTINUING AND ONGOING INFRINGEMENT

                           I NTERNET WEB PAGE INFRINGEMENT

   1 92.    ORION LABS, LLC.'s infringing actions have the tendency or

  capacity to mislead the public about the true source of the services and

  technology covered by the plaintiff's Trademark respectively with the

   use of the tradename "SMART WALKIE TALKIEO to market its push to

  f~11:~

   193. For example, Defendant uses the term "SMART WALKIE TALKIE"

  throughout the Internet space and Internet search engines to drive

  traffic to their own website or business.

   1 94. Computer HTML software codes are wrongfully inserted into

  webpages bearing the plaintiff's registered trademark "SMART WALKIE

  TALKIE" in an effort to fool the public and lead consumers to their own

   website.




   <.Z~1IPGAINT FO R WILLFUL TRADEMARKlNFRINGEMENT                                                 63
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  ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES. LLC   Trademark Infringement, Fraud, Racketeering   (~


                                             COUNT XIII:

                                  DECLARATORY JUDGMENT

  1 95.     Plaintiff is entitled to a declaratory judgment against defendants

  pursuant to the Declaratory Judgment act 28 U.S.C. §§2201-02.

  196. Specifically, plaintiff is entitled to a declaratory judgment as follows:

          A declaratory judgment declaring that defendants have infringed the

          plaintiff's Trademark SMART WALKIE TALKIE O

          A declaratory judgment that defendants committed fraud as setforth

          herein, and in Exhibit F —The fraud complaint.

          A declaratory judgment that defendants have engaged in deceptive

          trade practices and deceit.

          A declaratory judgment that defendants have absolutely no right to use

          the trademark in commerce.

          A declaratory judgment that plaintiff is the sole owner which has

          exclusively right to use the federal trademark Smart Walkie Talkie0.

          A declaratory judgment that defendants violated Maryland's Deceptive

          Trade practices by its unlawful use of Plaintiff's Trademark.

           A declaratory judgment that defendants acts are extreme and

          outrageous.




   COMPLAINT FO R WILLFUL TRADEMARK INFRINGEMENT                                                  64
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                                 EXTREME AND OUTRAGEOUS CONDUCT

  197.         Plaintiff further contends that defendant's willful disregard for plaintiff

  intellectual property rights, the knowingly and intentional treatment in

  defrauding, the unlawful use of intellectual property complained of herein,

  including but not limited to, unlicensed use of the intellectual property,

  unlicensed and fraudulent use of the "SMART WALKIE TALKIEO" trademark,

  theft, conversions, fraud, negligent misrepresentation, negligence, inter alia,

  and outright stripping him of patent and trademark rights guaranteed under

  federal and state law, including the right to collect royalties from the use of

   plaintiff's intellectual property exceeds all bounds usually tolerated by a

  decent society, and moreover was done with malice, and with intent to

  cause knowledge that it would cause and in fact has caused severe mental

  and physical distress and economic loss to the plaintiff.


  198. That, in the alternative and in the event that this court finds that

  there was no conspiracy between the defendants named herein to

   harass the plaintiff, plaintiff alleges that one or more or all of the

  defendants named herein independently committed the unlawful acts

   described herein, which acts resulted in the deprivation and violation of




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   et al


  plaintiff's rights, privileges, and immunities guaranteed by under federal

  and state law and common law of the State of California.


  199. ORION LABS, LLC.'s general course of conduct has an impact on

  the public interest, and the acts complained of herein are ongoing

  and/or have a substantial likelihood of being repeated.

  200. Plaintiff is therefore entitled to damages in an amount to

  determined at trial and to be trebled; an order enjoining the infringing

  conduct complained of herein, a declaration that defendants actions

  constitute trademark infringement, patent infringement, an order of

  replevin ordering the U.S. Marshals to seize certain assets of the

  defendants during the pendency of trial and in such further relief as the

  Court may deem proper.




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  ALFRED MCZEAL, JR. VS. AMAZON.com SERVICES. LLC   Trademark Infringement. Fraud, Racketeering   (~


                                       PUNITIVE DAMAGES

  201. Plaintiff alleges that because of the willful, knowingly, unlawful and

  unconscious able infringing acts, and the other unlawful acts complained of

  herein, including the conspiracies contemplated between the defendants, the

  willful unlicensed use of plaintiff's federally registered trademark, and patent,

  intentional willful infringement, fraud, continuously using the property even

  after advising the defendants of prior use, the reckless disregard for law, inter

  alia, and for other unlawful offenses committed against him including the

  oppression, the deliberate infliction of mental and emotional distress, physical

  and mental pain upon him, the wrongful and unjust hijacking of the trademark

  and patent complained of herein, the wanton, careless and deliberate

  disregard for his civil rights, and for other reason at law, Plaintiff is entitled to

  recover punitive damages, in addition to actual damages.

  202.      That if it is found that one or more or all of the defendants did not

  actively participate in the said illegal acts and conspiracy, it is alleged that

  said defendants had knowledge of the conspiracy, the power to prevent or aid

   i n the prevention of the conspiracy, and other unlawful acts complained of

   herein and refused to do so.




   COMPLANT FO R WILLFUL TRADEMARK /NFRINGEMENT                                                   67
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                                                  PRAYER FOR RELIEF


  203. WHEREFORE, Plaintiff requests of this Court the following relief:

            1.               Issuance of an immediate Temporary Restraining Order,
                             preliminary and permanent injunctions prohibiting defendants
                             AMAZON, ORION LABS, LLC.., its agents, dealers, and
                             distributors from operating, assigning, alienating or using the
                             federally registered trademark SMART WALKIE TALKIEO,
                             and/or selling the Infringing mark and prohibiting all future
                             infringement of the Trademark and Patent by ORION LABS,
                             LLC.., Inc. and/or its agents, dealers, and distributors, and,

            2.               A declaratory judgment that the use of plaintiff's intellectual
                             property &Registered Trademarks was willful unlawful, and,

            3.               A judgment against AMAZON, ORION LABS, LLC.., and
                             other defendants for trademark infringement, 15 USC §1114
                             and §11125 and,

            4.               Enhanced Damages and Attorney Fees, and,

            5.               Injunction against continued trademark infringement and
                             unfair competition, 15 USC §1116 and,

            6.               Imposition of a constructive trust on all proceeds earned from
                             the trademark infringement and patent infringement, and,

            7.               A Declaratory Judgment declaring that the defendants violated
                             the federal Trademark Dilution Act USC 1023(c) Section 43(c)
                             of the Lanham Act, and,

            8.               A judgment ordering defendants to do a complete accounting
                             of all profits earned and to turn over those profits, trebled to
                             the plaintiff, and,




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            9.               Increase and trebled damages for                               willful    trademark
                             infringement under the Lanham Act, and,

            10.              Judgment and                     damages for        conversions, fraud, and
                             racketeering,

            1 1.             Injunction requiring defendants to return all intellectual
                             property of plaintiff in its possession to the plaintiff, and,

            1 2.             Injunction prohibiting defendants and its agents from further
                             using the said intellectual properties without a license, and,

            1 3.             Judgment and damages for ORION LABS, LLC.'s violations of
                             federal and state unfair competition law, and an injunction
                             against continued trademark law violations, and,

             14.             Cost pursuant to Federal Rules of Civil Procedure 54(d), and,

             1 5.            An order that the defendants be permanently enjoined from its
                             improper infringing activities and practices described herein,
                             and,

             16.             An order awarding restitution and/or disgorgement of profits
                             earned by fraud, misrepresentation, or other unlawful
                             activities, complained of herein, and,

             17.             An award of compensatory damages, treble damages and any
                             additional consequential and incidental damages and cost
                             suffered, and,

             18.             A judgment declaring that the acts complained violate and
                             interfere with Plaintiff's civil rights protected under law, and,

             19.             An order allowing the substitution of counsel as may be
                             appropriate and requested by the plaintiff during the pendency
                             of this case, and,

            20.               An order directing the U.S. Marshal or other appropriate
                              officer of the State of California to seize the bank account


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                        funds and deliver to the trustee of this court pending a final
                        hearing in this matter, and,

          21.           An order setting this matter for an expedited hearing, and,

          22.           Any and all such other relief this Court deems proper of
                        whatever nature as may be just and equitable and/or required
                        or permitted by law.


  204. Plaintiff further pray that this Honorable Court after due proceeding and

  all legal delays do enter judgment against the defendants jointly, severely,

  and in solido, condemning them all, for the said unlawful acts in the full

  amount of           $500,000,000. (Five Hundred Million), the fair market value

  considering defendants millions of dollars reaped in profits made from the

   unlawful use of plaintiff's trademarks including court cost, attorney fees,

   interest from the date of judicial demand and for all general and equitable

   relief afforded under law.

                                              JURY TRIAL: Plaintiff demands a trial by Jury.
   Respectfully Submitted




                                                          DATED: AUGUST 3, 2021
  AL RED MCZE L, J
  SMART WALKIE TALKIE
  2620 FASHION AVE
  LONG BEACH, CA. 90810
  Phone: 832-930-3777



   CO,LfPLAINT FO R GVlLLFUL TRADEAL4RK INFRINGEMENT                                                 7O
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      Alfred McZeal, Jr. vs. Amazon.com Services, LLC, et al


 1
                                                          VERIFICATION
 2                                                              OF
 3                                                        Alfred McZeal, Jr.

 4     (we),                  Alfred McZeal, Jr.                     am a plaintiffs in the above-entitled action. I (we)

 +~   have read the foregoing complaint for Lanham Act Trademark Infringement and other matters and

[:~   know the contents thereof. The same is true of my own knowledge, except as to those matters

 7    which are therein alleged on information and belief, and as to those matters, I (we) believe it to be

 8    true.

 9      (we) declare under penalty of perjury that the foregoing is true and correct and that this

 1C   declaration was executed at:                             LONG BEACH, CALIFORNIA

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 13                                                               /' ~~
                                                           Ifred McZe , Jr.
 14

 15                                        Dated: September 01, 2021
 16

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                                  EXHIBITS FOR JUDICIAL NOTICE

 EXHIBIT #           DESCRIPTION OF EXHIBIT                                                    # OF PAGES

                     PLAINTIFF'S FEDERAL TRADEMARK
                     "SMART WALKIE TALKIE" -                                                       2
                     US REG NO. 5,303,249 Registration Date :October 3, 2017


                     PLAINTIFF'S CALIFORNIA REGISTERED TRADEMARK
                     "SMART WALKIE TALKIE"                                                         8
    1A               CALIFORNIA REGISTRATION NO: 305897; Registration Date' January 31, 2019



     2                PLAINTIFF'S NOTICE TO CEASE AND DESIST LETTER TO ORION
                      LABS, LLC AND JESSE ROBBINS, CEO DATED 12/12/2017                             2


                      DEFENDANT'S ORION LABS, INC FRAUDULENT "FAIR USE" LETTER
     3                DATED JANUARY 18, 2018 FROM COUNSEL C. THOMAS SYLKE                           4



     4                ORION LAB'S LLC WEBSITE TRADEMARK INFRINGEMENTS                               12


                      AMAZON.COM SERVICES, LLC WEBSITE TRADEMARK
      6               INFRINGEMENTS                                                                 10


      7                BEST BUY, INC. WEBSITE TRADEMARK INFRINGEMENTS                                   ~


      F                EXHIBIT "F" COMPLAINT FOR FRAUD                                              12
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                       EXHIBIT" 1 "


       PLAINTIFF'S FEDERAL TRADEMARK
           "SMART WALKIE TALKIE" -
      US REG NO. 5,303,249 Registration Date
                 October 3, 2017




                             NO OF PAGES:          2
    Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 74 of 134 Page ID #:74
1/29/2021                                                      Trademark Electronic Search System (TE. ~,     EXHIBIT #1
              U nited States Patent and Trademark Office

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 Word Mark SMART WALKIE TALKIE
 Goods and IC 038. US 100 101 104. G & S: COMMUNICATIONS SERVICES IN THE NATURE OF PROVIDING
 Services     INTERNATIONAL NETWORKS SERVICES, INTERSTELLAR COMMUNICATIONS SERVICES, AND WIRELESS
              COMMUNICATIONS SERVICES TO MOBILE PHONES, CELLULAR PHONES, SATELLITE PHONES, VSAT
              TERMINALS, COMPUTERS, WIRELESS ACCESS POINTS, AND HIGH SPEED WIRELESS MULTI-USER
              ACCESS TO A GLOBAL WIRELESS INTERSTELLAR NETWORK, AND MOBILE SOFTWARE PORTAL;
              TELECOMMUNICATION SERVICES, NAMELY, VOICE OVER INTERNET PROTOCOL TELEPHONY SERVICES;
              TELECOMMUNICATION SERVICES, NAMELY, INTERNATIONAL LONG DISTANCE TRANSMISSION OF VOICE,
              DATA, VIDEO NETWORKS, REAL TIME VIDEO, PICTURES, GRAPHICS, BY MEANS OF STELEPHONE,
              COMPUTER, WIRELESS NETWORKS, AND HIGH SPEED SATELLITE TRANSMISSIONS;
              TELECOMMUNICATIONS SERVICES, namely, GPS AND GLOBAL POSITION SERVICES AND GPS MOBILE
              SOFTWARE; TELECOMMUNICATION SERVICES, namely, PROVIDING SATELLITE TELECOMMUNICATION
              CONNECTIONS TO A COMPUTER BASED DISTRIBUTED NETWORK, USING THE INTERNET, VOICE OVER
              I NTERNET PROTOCOL, GROUP PACKET RADIO SERVICE, SATELLITE INTERNET SERVICES, AND
              SATELLITE CONNECTIONS FOR WORLD WIDE WIRELESS TELECOMMUNICATIONS. FIRST USE: 20150916.
              FIRST USE IN COMMERCE: 20170413
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 Filing Date October 25, 2016
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 for          April 4, 2017
 Opposition
 Registration 5303249
tmsearch.uspto.gov/bin/showfield?f=doc&state=4809:kjtae7.2.1                                                          1/2
    Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 75 of 134 Page ID #:75
1/29/2021                                                      Trademark Electronic Search System (TE,. ,

 N umber
 Registration
              October 3, 2017
 Date
 Owner        (REGISTRANT) McZeal, Alfred Jr. DBA WORLD WIDE WALKIE TALKIE INDIVIDUAL UNITED STATES 315
              JACKSON ST LAFAYETTE LOUISIANA 70501
 Disclaimer NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "WALKIE TALKIE" APART FROM THE MARK AS
              SHOWN
 Type of
              SERVICE MARK
 Mark
 Register     PRINCIPAL
 Live/Dead
              LIVE
 Indicator


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                                           .HOME ~ SITE INDEX SEARCH ~ eBUS~NESS ~ HELP ~ PRIVACY POLICY




tmsearch.uspto.gov/bin/showfield?f=doc&state=4809:kjtae7.2.1                                                2/2
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 76 of 134 Page ID #:76

    ALFRED MCZEAL JR. VS. AMAZON.com SERVICES, et al




                       EXHIBIT"1A"


      PLAINTIFF'S CALIFORNIA REGISTERED
                   TRADEMARK
            "SMART WALKIE TALKIE"
     CALIFORNIA REGISTRATION NO: 305897;
        Registration Date: January 31, 2019




                             NO OF PAGES:          $
EXHIBIT lA -CALIFORNIA REGISTERED TRADEMARK




    Thank You for Registering your Trademark/Service Mark in California
    Congratulations on the registration of your Trademark/Service Mark with the California Secretary of State
    (SOS). Enclosed are the Cert~cate of Registration and a copy of the filed application including copies of
    the drawing page and specimen you submitted.

    What's ne~ct?
      1. Although the Secretary of State's office has conducted a search of marks registered with this office
         and your marls does not appear to resemble any Caiifomia registered mark, there may be
         unregistered marks, California trade names, fictitious names, or names under which individuals
         conduct business that may resemb{e your mark. You, as the o~+rner of the mark are responsible for
         protecting your rights to the mark.

        2. A registered mark is effective far a term of five (5) years. This office does not send a notification
           of expiration; therefore, it is your responsibility as the ov~rner to renew the mark within six (6)
           months prior to the mark's expiration date.

        3. If you have any questions regarding such rights, you should consult with private legal counsel.
                                                                                                                   Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 77 of 134 Page ID #:77
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 78 of 134 Page ID #:78

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    ~ ~~ ~.~~ California Secretary of State
     .
         -,_r'~.... ~ Electronic Certificate of
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      ....
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                      Registration of Trademark/Service Mark
    I, ALEX PADILLA, Secretary of State of the State of California, hereby certify:
    Type of Mark:                         Service Mark
    Name of Owner (Registrant):           Alfred McZeal, Jr. d/b/a/ World Wide Walkie Talkie




    Registration Number:                  305897                                                D
    Business Address:                     315 Jackson, Lafayette, La, 70501, United States Of
                                          America                                               ~

    Business Structure:                   Sole Proprietor                                       ~
                                                                                                Z
                                                                                                c
                                                                                                0
                                                                                                m
    Names of General Partners:            None
                                                                                                ~L




                                                                                                ~F+

    Date First Used Anywhere:          12!06/1999                                               v
    Date First Used in California:     09/01/2010
    Description of Mark:                                                                        U
    Smart Walkie Talkie




    Disclaimer:
    NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "WALKIE TALKIE" APART
    FROM THE MARK AS SHOWN.

    Identification of Goods or Services
    PROVIDING GLOBAL WIRELESS PTT COMMUNICATIONS VIA CELLULAR PHONES, SATELLITE PHONES,
    WIRELESS COMPUTERS AND WIRELESS MULTIPLE-USER ACCESS TO A GLOBAL DISTRIBUTED COMPUTER
    NETWORK; TELECOMMUNICATION SERVICES, NAMELY, VOICE OVER INTERNET PROTOCOL TELEPHONY
    SERVICES; TELECOMMUNICATION SERVICES, NAMELY, WORLD WIDE LONG DISTANCE TRANSMISSION OF
    VOICE, DATA, REAL TIME VIDEO, GRAPHICS, BY MEANS OF TELEPHONE, COMPUTER, AND HIGH SPEED
    SATELLITE TRANSMISSIONS USING PUSH TO TALK DEVICES.

    Classification Code(s):               38
    Date of Registration:              01/31/2019
    Term of Registration
    Extends to and Includes            01/31/2024
                                                 Page 1 of 2
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 79 of 134 Page ID #:79


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   ~~-=--~-1~~~r `.:fir California Secretary of State
        :=.,            Electronic Certificate of
                        Registration of Trademark/Service Mark
    In accordance with the application filed in this office, the mark described above has
    been duly registered. A copy, specimen, facsimile, counterpart or a reproduction of
    the mark is attached.




                                           IN WITNESS WHEREOF, I execute this
                                           certificate and affix the Great Seal of the
                                           State of California on January 31, 2019.




                                                           ALEX PADILLA
                                                          Secretary of State




                         Verification Number: DV4PRR
                                Date Issued: 01/31/2019
                        Registration Number: 305897




                                            Page 2 of 2                 2017 California Secretary of State
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 80 of 134 Page ID #:80

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    I, ALEX PADILLA, Secretary of State of the State of California, hereby
    certify that the attached transcript of 5 pages)is a full, true and correct
    copy of the original record in the custody of the California Secretary of
    State's office.




                                            IN WITNESS WHEREOF, I execute this
                                            certificate and affix the Great Seal of the
                                            State of California on January 31, 2019.




                                                       ALEX PADILLA
                                                      Secretary of State




                            Verification Number: QF18ZW
                                  Date Issued: 01/31/2019
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 81 of 134 Page ID #:81

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     ` rte ~~~ Electronic Filing                                                              Secretary of State
           ~ ~~'
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                                                                                              State of California
    Trademark/Service Mark -Application for Registration
                                        Type of Mark:      Service Mark
                           Name of Owner (Registrant):     Alfred McZeal, Jr. d/b/a/ World Wide Walkie                1
                                                           Talkie                                                     N

                                                                                                                      LL.
                                 Registration Number:      305897
                                Classification Codes)       38                                                         N
                                                                                                                      .S~
                                            File Date      01/31/2019
    Detailed Filing Information                                                                                       Z
    1. Application for Registration of:                    Service Mark                                                C
                                                                                                                       O
    2. Owner (Registrant) Information:
                                                           Alfred McZeal, Jr. d/b/a/ World Wide Walkie                 U
           a. Name of Owner (Registrant)                                                                              ~«=
                                                                                                                      .L
                                                           Talkie
                                                                                                                       N

                                                                                                                       N
                                                                                                                      r~
           b. Business Address:                            315 Jackson, Lafayette, La, 70501, United
                                                           States Of America                                           U

           c. Declaration of Ownership:
              Registrant declares that the Registrant is the owner of the mark, that the mark is in use, and that     ~`
                                                                                                                      u
              to the Registrant's knowledge, no other person has registered the mark in this state, or has the
              right to use the mark, either in the identical form or in such near resemblance as to be likely, when
              applied to the goods or services of the other person, to cause confusion, to cause mistake, or to
              deceive.
           d. Business Structure:                            Sole Proprietor




           e. Name of General Partners)                    None




    3. Description of Mark:
       Smart Walkie Talkie




           See drawing page attached and incorporated by reference.
                 Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 82 of 134 Page ID #:82
                                                                                                Registration Number: 305897
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    4. Design Code(s):

    5. Disclaimer:
           NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "WALKIE TALKIE"                                                     N
           APART FROM THE MARK AS SHOWN.                                                                                      ~
                                                                                                                              C~
    6. Date of First Use of Mark                                                                                              L
          a. Date Mark was First Used Anywhere:                   12/06/1999                                                  -Q
           b. Date Mark was First Used in California: 09/01/2010                                                              ~
                                                                                                                              Z
    7. Identification of Goods or Products/Services:                                                                          ~
                                                                                                                               O
          a. List specific Goods or Products/Services:                                                                        +~
             PROVIDING GLOBAL WIRELESS PTT COMMUNICATIONS VIA CELLULAR PHONES, SATELLITE                                       ~~j
                 PHONES, WIRELESS COMPUTERS AND WIRELESS MULTIPLE-USER ACCESS TO A GLOBAL                                     ~+_
                 DISTRIBUTED COMPUTER NETWORK; TELECOMMUNICATION SERVICES, NAMELY, VOICE                                       ~
                 OVER INTERNET PROTOCOL TELEPHONY SERVICES; TELECOMMUNICATION SERVICES,                                       >
                 NAMELY, WORLD WIDE LONG DISTANCE TRANSMISSION OF VOICE, DATA. REAL TIME VIDEO,                                ~
                 GRAPHICS, BY MEANS OF TELEPHONE, COMPUTER, AND HIGH SPEED SATELLITE                                          ~
                 TRANSMISSIONS USING PUSH TO TALK DEVICES.                                                                     V

          b. Classification Code(s):                               38                                                         ~
                                                                                                                              N
                                                                                                                              U
   8.     U.S. Patent and Trademark Information

          a. File Date:                                           10/11/2016
          b. Serial/File Number:                                  87214250
          c. Status of Application:                               Allowed or In Issue
          d. If Refused, Why?:




   9. How is the Mark Used:
          On Advertising Brochures, On Advertising Leaflets, On Business Cards, On
          Letterhead, On Menus, Advertisement/Branding On Webpage, Other
          www.SmartWalkieTalkie.net


   10. Type of Specimen'
          X-5




          See Specimen attached and incorporated by reference.
                         Use '_rizfilesos.ca.gc, for online filings, searches, business records, and resources.
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 83 of 134 Page ID #:83
                                                                                                    Registration Number: 305897
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    1 1. Authorized Representative:                                     Yes
    Declaration of Accuracy and Signature

     declare that all the foregoing information contained in this Application is accurate, true and correct
    and that I am authorized to sign this Application. I understand that if I willfully state in the
    Application any material fact that I know to be false, I will be subject to a civil penalty of not more                       N
    than ten thousand dollars ($10,000.00).
                                                                                                                                  L.L
           Registrant or Authorized Representative:                     Alfred MCZeaI, .l r.

                                                                                                                                  N


           Date Electronically Signed:                                  01/31/2019
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                              Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
 smartwalkietalkie.net/index.html                                                                                                                      ~     ~~~, ~~
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              HONtE PAGE~         ~                                                                                                                             .




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                                             Smart 1Nalkie Talkie(tm)
                                                                          Smart 1P1fak~e Talkiei T"`




              Smart Walk~e Talkie (t~n~ a divi~ian of World Wide Walkie
              Ta I kie (tm} provides worldwide broadband Interne}
              services and access v~vith SLA and full support of QoS, VPN,
              business quality VoI~, videoconferencing and smart PTT
              devices which can ~e used world wide virtually anywhere
              on the planet. We provide international communnications
              services anywhere on the globe and can establish 4G
                                                                                                                                                                    Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 84 of 134 Page ID #:84




              cellular telephone serv~ce~~ anywhere on the planet with i n
              48 hours after equipment arrives an site,
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 85 of 134 Page ID #:85




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    ALFRED MCZEAL JR. VS. AMAZON.com SERVICES, et al




                       EXHIBIT" 2 "


       PLAINTIFF'S NOTICE TO CEASE AND
       DESIST LETTER TO ORION LABS, LLC
        AND JESSE ROBBINS, CEO DATED
                   12/12/2017




                             NO OF PAGES:
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 87 of 134 Page ID #:87

AL MCZEAL, CEO                                         WORLD WIDE WALKIE TALKIE
633 West Fifth St. 26th & 28th Floors,
U.S. BANK TOWERS, LOS ANGELES, CA. 90017                  "Connecting Everyone, Everywhere"
          1-888-833-2459 X801       FAX: 1-888-833-2459     www.worldwidewalkietalkie.com
LOS ANGELES, CA
  888-833-2459
  213-408-7035                                        EXHIBIT #2
LONG BEACH,CA                              December 11, 2017            Monday
888-833-2459 801

                       Mr. Jesse Robbins, CEO
 NEW YORK, NY
  917-398-0033
                       Orion Labs, Inc.
                       208 utah St Suite 350                                          Smart Walkie Talkie
  HOUSTON,TX
                       San Francisco, CA.94103                                        COMMUNICATIONS
 (713)893-3818                                                                      www.smartwalkietalkie.net
                                                                                     U.S. Express Mail ❑email
  ATLANTA, GA
  888-833-2459         Subject:                                                     ❑ FAX


 LAS VEGAS, NV.                 "SMART WALKIE TALKIE" TRADEMARK INFRINGEMENT:
  (725) 333-1505                          NOTICE TO CEASE ~ DESIST

WASHINGTON, DC
 888-833-2459
  202-800-9920
                       M y company is the owner of rights to the mark "Smart Walkie Talkie" ("mark"). The mark has
                       been registered with the U.S. Patent and Trademark Office, and United States Registration
                       No. 5,303,249 has been issued for the mark. A copy of the registration certificate registered
                       on the Principal Register is enclosed for your information.

                       My company has just learned of your use of this mark. Specifically, your use of the mark is
                       Identical to the Smart Walkie Talkie trademark and product that I have already registered.
                       Your continued use is likely to cause confusion.

                       From the information that we have received regarding your use, our use of this mark has
                       priority over yours based upon our earlier and continuous use, as well as the above federal
                       registration. Therefore, your use is a violation of my company's rights.

                       We are demanding that you cease and desist and immediately stop using this mark or any
                       other name or mark confusingly similar. If you promptly contact us and provide written
                       assurance that you have taken steps to discontinue such use, we will not pursue this matter
                       further and will not assert any claim against you for money damages. You must provide us
                       with an acceptable response before December 20, 2017 in order to avoid possible legal
                       action against you.

                       Alternatively, we may be able to license use of this trademark. However, the use of
                       this Registered Trademark may not be used without a valid license agreement.

                       Please contact us at the above address if you have any questions or need additional
                       information. Our e-mail address is almczeal@gmail.com. A fax can be sent to
                       1-888-833-2459.

                       Sincerely,
                                       ~v~~~.
                       AI McZe ' ~~
                       CEO                       attachment: US Trademark "Smart Walkie Talkie"

                   ~                             www.worldwidewalkietalkie.com/satellite                               1
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Mr. Jesse Robbins, CEO
Orion Labs, Inc.
208 Utah St. Suite 350
San Francisco, CA. 94103
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 89 of 134 Page ID #:89

    ALFRED MCZEAL JR. VS. AMAZON.com SERVICES, et al




                       EXHIBIT" 3 "


           DEFENDANT'S ORION LABS, INC
          FRAUDULENT "FAIR USE" LETTER
           DATED JANUARY 18, 2018 FROM
            COUNSEL C. THOMAS SYLKE
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 90 of 134 Page ID #:90

                                          EXHIBIT#3

                                       SETTER ROCHE LLP

                                           14694 ORCHARD PARKWAY
                                             BUILDING A,SUITE 20~
                                           WFSrMINsrER,CO 800023
                                             Pxo1vE 720-562-2280

                                                                                 Attorney C.Thomas Sylke
                                                                                     tom~setterroche.com


      January 18, 2018

      1'//_\flu/•\111

      Mr. Al McZeal
      Chief Executive Officer
      633 West Fifth Street
      U.S. Bank Towers
      Los Angeles, CA 90017


                        Re:   U.S. Registration No. 5,303,249
                              Orion Labs, Inc.


      Dear Mr. McZeal:
              As you know, your letter dated December 11, 2017 has been referred to our law
      firm for evaluation and reply on behalf of Orion Labs Inc. of San Francisco, California.
      We have reviewed and assessed your claim of trademark infringement, including
      reviewing U.S. Service Mark Registration No. 5,303,249, your asserted use ofthe term
      "smart walkie talkie," Orion Labs' own use of the term "smart walkie talkie," and the
      relevant law regarding the parties' uses. At this time, Orion Labs does not believe that
      you have asserted any rights and underlying basis for such rights that require Orion Labs'
      discontinuance of its use of the term "smart walkie talkie," which is a descriptive phrase
      that fairly describes Orion Labs' ONYXTM products. The specific reasons for this
      conclusion are discussed in detail below.
               Preliminazily, our firm wants to advise you that, if you are represented by counsel,
       any future communications between you and Orion Labs should be conducted by the
       parties' attorneys rather than involving you personally. There is no reference to an
       attorney or law firm in your letter or in the file history of your registration with the
       USPTO,so you will need to provide us with the name of that attorney or firm, if counsel
       is advising you in this matter.
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 91 of 134 Page ID #:91


      Mr. Al McZeal
      January 18, 2018
      Page 2


      Descriptive Subiect Matter
              Initially, the U.S. Patent and Trademark Office likely issued the `249 Registration
      in error; the term "smart walkie talkie," as applied to subject matter such as that described
      in your original application, is considered descriptive(and thus not registrable) absent
      proof of secondazy meaning under 15 U.S.C. § 1052(fl. As such, that registration would
      likely be canceled by the USPTO if Orion Labs or another party were to initiate a
      cancellation proceeding asserting that the registration was improperly issued by the
      USPTO. Grounds for such a cancellation petition would be based on Lanham Act 15
      U.S.C. § 1052(e)(1), which prohibits registration of terms that are "merely descriptive" of
      an ingredient, quality, characteristic, function, feature, purpose or use ofthe products
      and/or services with which the mark is used. Here, both the term "smart" and the term
      "walkie talkie" aze descriptive and thus the phrase "smart walkie talkie" should not have
      been registered.
               Examples of other marks utilizing the descriptive term "smart" in which a
      disclaimer of that term has been required include SMART TV ALLIANCE,SMART
      WIRELESS SOLUTIONS ADCON,SMART TURBO,SMART MOVEMENT and
      others. Moreover, the USPTO has held that the term "smart" is descriptive when used in
      connection with goods and services involving smart phones and similar
      devices/technology (see, e.g., In re Cryomedical Scis. Inc., 32 USPQ2d 1377, 1378
      (TTAB 1994)(holding SMARTPROBE merely descriptive ofdisposable cryosurgical
       probes); and In re Tower Tech, Inc.,64 USPQ2d 1314, 1317-18(TTAB 2002)(holding
      SMARTTOWER merely descriptive of commercial and industrial cooling towers).
             On the basis of this information, your application for SMART WALKIE TALKIE
      should have been refused registration by the USPTO.


      Priori
              You also have asserted that you have earlier and continuous use of the phrase
      "smart walkie talkie" relative to Orion Labs. Our client began using the descriptive
      phrase "smart walkie talkie" in print to generically describe its ONYXTM products at least
      as early as September 13, 2016. Moreover, Orion Labs used the term "smart walkie
      talkie" to generically describe its ONYXTM products in a YouTube video dated July 22,
      2016(https://www.youtube.com/watch?v=eugHisksGDc).
             Your application was filed on October 25, 2016 and claims a date of first use in
       commerce of April 13, 2017. If you have credible evidence or other proof of your use of
       the phrase "smart walkie talkie" as a service mark prior to July 22, 2016, Orion Labs will
       be happy to review and consider such evidence to determine whether or not it has any
       impact on Orion Labs' conclusions regarding the priority issue asserted in your letter.
       Because our client's use is protected as a fair use, as explained in detail below, the
       priority issue is likely not relevant in any case.
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      Mr. Al McZeal
      January 18, 2018
      Page 3


      Fair Use Defense
              Additionally, even if your alleged trademark rights and asserted registration were
      to be upheld by the USPTO after a cancellation proceeding, Orion Labs has a defense to
      any claim of infringement regarding its use ofthe generic/descriptive phrase "smart
      walkie talkie" under 15 U.S.C. § 1115(b)(4), which states that a defense exists
     (essentially allowing "fair use") where a party charged with infringement uses a term
      otherwise than as a mark and which is descriptive of and used fairly and in good faith
      only to describe that party's products. Here Orion Labs and others have used the phrase
     "smart walkie talkie" merely to describe the ONYXTM products sold by Orion Labs. The
      ONYXTM trademark is clearly used as the trademark for Orion Labs' products and the
     phrase "smart walkie talkie" is used only to generically describe the technologically-
     enhanced communication devices sold under the ONYXTM mark.


      No Likelihood of Confusion
              Finally, even if"smart walkie talkie" qualified for service mark protection as you
      allege and even if Orion Labs decided at a later date to begin using the phrase "smart
      walkie talkie" as a trademark, such use would not constitute an infringement due to the
      absence ofa likelihood of confusion under the DuPont factor test established to
      detemune likelihood ofconfusion issues. Your registration asserts use ofthe "smart
      walkie talkie" phrase in connection with various services, including:

             Communications services in the nature ofproviding international networks
                   services, interstellar communications services, and wireless
                   communications services to mobile phones, cellular phones,satellite
                  phones, T~SAT terminals, computers, wireless access points, and high
                  speed wireless multi-user access to a global wireless interstellar network,
                   and mobile software portal;
             Telecommunication services, namely, voice over Internet protocol telephony
                   services;
             Telecommunication services, namely, international long distance transmission
                   ofvoice, data, video networks, real lime video,pictures, graphics, by
                   means ofstelephone, computer, wireless networks, and high speed
                   satellite transmissions;
             Telecommunications services, namely, GPS andglobalposition services and
                   GPS mobile software;
             Telecommunication services, namely,providing satellite telecommunication
                   connections to a computer based distributed network, using the Internet,
                   voice over Internetprotocol,group packet radio service, satellite Internet
                   services, and satellite connectionsjor world wide wireless
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 93 of 134 Page ID #:93


       Mr. Al McZeal
       January 18, 2018
       Page 4


       We are unclear as to what "interstellar communications services" might be intended to
       mean, however the other services described in your registration are smart
       telecommunication services. Under the DuPont case test factors, the differences between
       your services and Orion Labs' products are sufficient to support a finding of no
       likelihood ofconfusion. Your registration does cover or extend to products and/or other
       equipment such as smart phones and other communication devices used in connection
       with your services. Moreover, Orion Labs' sophisticated ONYXTM products and related
       software are separate and distinct from the services you have identified.


       Summary
              Based on the foregoing, Orion Labs declines to cease its use ofthe descriptive,
      non-trademark phrase "smart walkie talkie" as a descriptive and generic device that fairly
      describes Orion Labs' ONYXTM products. Moreover, based on the limited information
      that Orion Labs currently has concerning your use and registration of the phrase "smart
      walkie talkie," Orion Labs declines to pay for a license to use a phrase which it is entitled
       to use for the reasons stated above.
              In sum, Orion Labs believes(1)that your alleged service mark is invalid due to its
       descriptiveness,(2)that your asserted registration was improperly issued by the USPTO
      (and would be canceled in a USPTO cancellation proceeding against said registration),
      (3)that Orion Labs' use of the descriptive phrase "smart walkie talkie" is a fair use
       protected under the defense outlined in 15 U.S.C. § 1115(b)(4), and (4)that any assertion
       ofinfringement would not sustain a finding of likelihood of confusion by a court of
       competentjurisdiction.
              We trust that this addresses all concerns raised in your letter. Thank you.




       Very tru~o      ,



    ~~`'C. Thomas Sylk
       Of Counsel



       cc: Orion Labs, Inc.
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 94 of 134 Page ID #:94

    ALFRED MCZEAL JR. VS. AMAZON.com SERVICES, et al




                       EXHIBIT" 4 "



              ORION LAB'S LLC WEBSITE
             TRADEMARK INFRINGEMENTS




                             NO OF PAGES:          12
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 95 of 134 Page ID #:95




    Trademark Infringement Profile         Company Information for
             Orion Labs                    Litigation Purpose — If No License


                                           Orion Labs
                                           https://www.orionlabs.io

                                           208 Utah Street, Suite 350
                                           San Francisco, CA 94103

                                           Sales
                  .,,.
                                           sales~orionlabs.io
                                           1-866-855-4249

                                           General Inquiries
   Jesse Robbins                           i nfo@orionlabs.io
   Founder and CEO
                                          415-800-2035

                                           Support
                                           help@orionlabs.io
                                           1-800-745-6430

                                           Orion Labs Trademark Info:
                                           https://tradema rks.justia.com/86
                                           7/37/orion-86737849.html

                                           Company has 19 Total Investors
   Greg Albrecht                           https://www.cbi nsights.com/com
   Co-Founder and CTO                      pang/onbeep-funding
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               Our real-time voice solutions keep your company connected with instant
               voice messaging fvr groups and individuals at the push of a button.

               onyx smart vualkie-talkies combined with Orion Voice Service enable
               secure push-to-talk communication with one or many across any
               distance.

               Onyx connects with Android phones and iPhones your employees are
               already using, to deliver push-to-talk anywhere those phones can
               connect to the Internet — on any cellular data ar wi-fi network.

               The Arian Pro Voice Service adds povverful administrative features,
               making it easier than ever to drive productivity.

               Features of Orion Pro Voice Service include:                                        g          •••        U I~

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           Onyx
           Smart Walkie-Talkie
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          $199.98



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                          Onyx smart walkie-talkies enable
                          push-to-talk communication over
                     ~~   any available network. Onyx pairs
                          with the Arian mobile app, using a
                          smartphone's data or Wi-Fi
          ~    ~'         connection to deliver real-time,
                          heads-up/eyes-up voice
                          communication for groups and
                          individuals —just like a walkie-talkie,
                          without the bulkiness, licensing
                          requirements, range or channel
                          limitations.

                          Each Onyx comes with a Basic, free
                          Orion account. For true team
                          collaboration, Orion Pro provides
                          groups with unlimited members,
                          advanced group and user
                          permissions management, an admin
                          console, plus much more.




                                                                       Q Support
           Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 99 of 134 Page ID #:99




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           Posted September 6, 2017 by ]asse Robbins


           M y co-founder Greg & I founded Orion to help people do more together, in real-
           time, using the power of voice, We knew we were in the very beginning of a once-
           in-a-decade shift to voice as the new interface, driven by a rapid evolution of
           voice services and technologies. We believed this shaft would require a new
           category of connected devices and services,just as the shift to mobile required
           touch-enabled smartphones. This is what we set out to build as the first step in
           our broader vision.
                                                                                                                                                    ~I,'

           Last year we released the award-winning Arian Onyx, our "smart walkie talkie",
           which connects to the Orion Platform. We started with anext-generation push-
           to-talk service for small groups and teams. As
           this has grown, we released Orion Pro, our                         ~            aa~~ ~
           powerful SaaS-based tool for larger
           organizations to securely communicate and                   ~~ ~
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    _ ____ manage their teams usin Orion.                                   'e .','~", .`'
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                                                        What's included
                Each onyx comes with everything needed to keep it charged and ready to go.




                                                              Travel pouch
                                    Onyx
                                                                                                      Charging cable


                                                              Buy C3nyx



                                             Why "smart" wa kie-talkies?
   Onyx works anywhere your phone connects to the Internet, so you stay i
                            your team over any distance.                                                                     A         "'         ~
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              Easy, modern PTT
              These sleek, easy-to-wear smart walkie-talkies are designed to keep your
              team connected with easy, quick conversations at the touch of a button.
              Perfect for teams who are spread across different properties and time zones.

                     Buy Onyx
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                                                            Orion: companion app to Onyx
                                                            Orion Labs, lnc.   Communication                            *iF #*       _` L
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                             at the touch of a button, without the distraction o{a phone screen, no matter haw spread aut you
                             are.

                             To use this tree epp, you'll need en Onyx smart wslkie-talkie, Onyx is currently shipping to the U S.
                             and Canada. Ltam mare at www,arionlaba.io additionally, you'll need en Android device running
                             Android 5.0 or above with Bluetooth LE.

                             See list of suppoRed drvices et www,orionlebs.io/Android-devicescompatibility

                             Onyx connects with leading Android devices via 8luetooth LE: Your voice messages are sent in real
                             time to other Onyx users over your smartphone's data ar Wi-FI connection, anywhere you have an
                             Internet connection,

                             Use the app to create talk groups for different topics, teams, or events while you're on-the-go. See
                             where your team members are onthe in-app map Por quicker, easier coordination Qocation sharing
                             must be enabled for the Orion app}, Gone ere the days of iranticelly calling or texting to find out
                             N~here people are or when they'll arrive.

                             From coordinating deliverees to organizing events or deciding on a meetup locale while on tine
                             slopes, Onyx and the Orion voice Service keep you and your team producti~re and efficient.



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❑ Orlon Labs
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❑ Build Excellent                                                             Iridescent Cobalt (Pair}
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                                                                               smartphone, and its battery lasts all day
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            Than Ever                       Ham Radio for Adult P,..   Long Range Recharge...     Way Radios, Business...    Version of BF-8885...   Talkies for Kids,
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            $98.00                          $298.90                    $121.99                    $162.99                    $43.99                  $36.99


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  Have a question?
  Flnd answers In product Info, Q&Ai, revl~w~

       Type your question or keyword




  Product description

      Product Description

            Experience faster easier communication. Onyx combines the simplicity of walkie talkies with the power of your data-enabled smartphone to deliver
            effortless, instant communication across any distance. Talk to as many people as you want at the same time with the simple touch of a button. Onyx is
            a sleek, lightweight communication device that helps you talk with your favorite people (who have Onyx) while leaving your phone in your pocket or
            bag. Simply pair Onyx with your phone, import your contacts to our free app, invite them to a group, and press and hold Onyx to talk. No limits on
            channels or distance, as long as everyone using it has Internet access via their phone.


      From the Manufacturer




https://www.amazon.com/Orion-Labs-Walkie-Talkies-Unlimited/dp/B01 G239N06/ref=sr_1_10?crid=29TV3Y808GIU9&dchild=1 &keywords=smart+wal...                                 2/10
  Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 110 of 134 Page ID #:110
1/30/2021                                       Amy ,~i.com: Orion Labs Onyx Smart Walkie Talkies w/ Unlim~._.. Range -Black (Pair)




                                                                                                                                   J




                                                   Easy group communication without distractions
            Stay in touch with your friends, family and colleagues without missing a beat. Eliminate frustrations of trying to reach multiple people through phone
            calls or urgent texts. Onyx provides group conversations at the touch of a button, without the distraction of a phone screen, no matter how spread out
            you are. Keeping in touch across any distance is simpler and quicker with Onyx and the Orion Labs app.




                                                              Instant voice across any distance
            If you've used waikie talkies, you've probably experienced some frustrations: limited range and limited channels. Onyx works across any distance, as
            long as everyone using it has Internet access via their phone. The Orion Labs app allows you to create as many groups as you want, with as many
            people as you want. Give the groups descriptive names (Cycling Group, Family Reunion, Wedding Party, etc.) instead of having to memorize channel
            numbers.




https://www.amazon.com/Orion-Labs-Walkie-Talkies-Unlimited/dp/601G239N06/ref=sr 1_10?crid=29TV3Y808GIU9&dchild=l&keywords=smart+wal...                               3/10
  Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 111 of 134 Page ID #:111
1/30/2021                                  Amy ,i.com: Orion Labs Onyx Smart Walkie Talkies w/ Unlim~. _ .. Range -Black (Pair)




                                                                 Speak and Be Heard
            Onyx delivers high quality sound with afull-range speaker and dual microphones. Speak into your Onyx, and your voice comes out
            of your friends' Onyx.




                                                                     Easy to Wear
            Onyx is a wearable accessory and easily clips on; wear it on your shirt, bag strap or necklace, where it can pick up your voice when
            you're talking.




                                                             Need Privacy? No Problem
            The headphone jack means you can plug in your headphones (not included) when you want to have private conversations. Easily
            set Onyx to silent mode (twist the face) when you don't want to be disturbed.




https://www.amazon.com/Orion-Labs-Walkie-Talkies-Unlimited/dp/B01G239N06/ref=sr 1_10?crid=29N3Y808GIU9&dchild=1&keywords=smart+wal...              4/10
  Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 112 of 134 Page ID #:112
1/30/2021                                       Am,     , i.com: Orion Labs Onyx Smart Walkie Talkies w/ Unlim~. _Range -Black (Pair)




                                                                     What You Need to Know

            In the Box: 2 Onyx devices, 2 micro-usb charging cables, 2 travel pouches, and a gift box so you can share with a friend. Each Onyx comes with: dual
              microphones, speaker, volume control, headphone port (3.5mm), rechargeable lithium-polymer battery, 5 LED status indicator lights, stainless steel
            clip, and dust-tight, gloss finish thermoplastic face and body. Phone compatibility: iPhone 4s and up (must be running iOS9 and above), iPod touch 5/6
                                           (must be running iOSB and above), leading Android smaRphones running 4.4 (KitKat) and up.




                                                                 About the Startup




                                                                 Joss FiohbNu                  Orsp AlbriCh!
                                                                  cso. ~a.~                     cro. Rte,


                                                                   Describe your product in 3 words.

                                                                         Instant voice communication

                                                         How did you come up with the idea for this product?

            Being volunteer firefghters and EMTs, we felt there was a better way to communicate than walkie talkies and walkie talkie apps. We created Onyx to
            make an easier way to talk to people with the same immediacy as a walkie talkie, but in a form factor and new experience people would be excited to
            use, and limited only by the limits of the Internet.

                                                                   What makes your product special?

            Onyx is the first wearable of its kind, putting the power of voice communication at your fingertips in a small, stylish device. With Onyx and the Orion
            app, we've combined wearables +messaging +voice services into the revolutionary new way to communicate and coordinate with your favorite people
            while staying mindful and in the moment.

                                                      What has been the best part of your startup experience?

            We love seeing people discover new and inventive ways to use Onyx to keep in touch and have fun while doing it. IYs that ah-ha moment where people
            see the power of voice and see how Onyx makes communicating so much easier, especially when you would rather be focusing on the people and
            things going on around you, instead of getting buried in your phone screen.




  Product information
  Color:Black

      Product Dimensions                      2 x 2 x 2 inches                         Warranty &Support

      Item Weight                            9 ounces                                   Product Warranty: For warranty information about this product, please click
                                                                                        here

https://www.amazon.com/Orion-Labs-Walkie-Talkies-Unlimited/dp/B01 G239N06/ref=sr_1_10?crid=29N3Y808GIU9&dchiid=1 &keywords=smart+wal...                               5/10
  Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 113 of 134 Page ID #:113
1/30/2021                                         Amy      i.com: Orion Labs Onyx Smart Walkie Talkies w/ Unlim,             Range -Black (Pair)

      nsiN                                      B01G239N06                                  Feedback

      Item model number                        ONX-002-03-2                                 Would you like to tell us about a lower price?
      Batteries                                 1 Lithium ion batteries required.
                                               (included)

      Customer Reviews                                              51 ratings
                                               3.4 out of 5 stars

      Is Discontinued By Manufacturer          No

      Other display features                   Wireless

      Colour                                   Black

      Manufacturer                             Orion Labs

      Date First Available                     June 29, 2016



  Videos
             Videos for this product




                Orion Labs Onyx Smart Walkie
                Talkies

                I mpressive Things


  ~ Upload your video




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                                                                       '4.,         ~++
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                         1.~~.~

            Pocketalk Two-Way          SAMCOM 5 Watts Two           BJDesign Futon Mattress     Langogo Genesis 2-in-1      luxton Horne Japanese   Nidden Camera
            Voice Translator with      Way Radio Long Range         Queen Bedding -             AI Translator Dev(ce and    Shiki Futon Foldable    &Anti Spy Dete
            Built-in Data and Camera   Handheld UHF Business        Traditional Japanese        Volce Recorder              Mattress for Sleep &    Detector, Bug p
            [New Modet S]-White        Ham Radio for Adult P...     Sleeping Mat - Shikibu...   Trenscriber, 100+ La...     Travel -Queen Long      Listening Dev...
                          76                       356                           6Q                           203                        6A9                      97
            $299.00                    $298.90                      $237.00                     $249.00                     $199.95                 $78.90




                                                                                                                           492




                                                                                                                                                      Sponsored

  Customer Questions &Answers

https://www.amazon.com/Orion-Labs-Walkie-Talkies-Unlimited/dp/B01 G239N06/ref=sr_1 _10?crid=29TV3Y808GIU9&dchild=l &keywords=smart+wal...                              6/10
  Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 114 of 134 Page ID #:114
1/30/2021                                         Amy   .i.com: Orion Labs Onyx Smart Walkie Talkies w/ Unlim~. .Range -Black (Pair)

      See questions and answers




  Customer reviews                                            Customer images
                                                                                                                                     ~'•, '' L
                  3.4 out of 5
  51 global ratings                                                                                                               ~'.

  5 star I                              430

  4 star ~                                   9%
                                                                                                                  :`
  3 star                                 19%                                                                      K%
                                                              See all customer images
  2 star                                     7%
                                                               Top reviews
  1 Stdf                                22%
    How are ratings calculated?
                                                              Top reviews from the United States

                                                                     Evan Platt

                                                                           Thua ara NOT unUmitad r~nga walkie talkies.
                                                              Reviewed In the United States on September 23, 2019
                                                              Color: Black
                                                             They aren't unlimited range walkie talkies. Nor are they aren't unlimited rengt. Nor are they walkle talkies.
                                                              They are basically headsets that connect to an app on your smart phone that allow you to chat via that
                                                             app. There's already plenty of free apps that do this - ie Zello. All this does is provide a fancy "Push to talk"
                                                              device. If you have no service, le at the Grand Canyon, on a cruise ship, etc, these are useless. Are they
                                                             'unlimited range'? If you both have cellular service, yes. Are they walkie talkies? No. Walkie talkies operate
                                                              without needing a cell phone or cell service.
                                                              181 people found this helpful

                                                                   Helpful    !   Report abuse
                906
                                  Shop now
                                                                     Perdie
                                     Sponsored                               Bad customer service, Bad product, and sent a previously returned item
                                                              Reviewed in the United States on February 27, 2017
                                                              COIOr: IrideSCent CObdlt Verified purchase
                                                               ordered a set of these, one of them wouldn't work. I contacted help, they weren't much help, they first
                                                              linked me to the help page on the web site...after two more emails with no help, I sent a video of how it
                                                              was not working, because I got tired of answering the same questions. I finally got a response after 10
                                                              days, saying I could return it for replacement. I returned it and ordered another set. When the new set
                                                              came you could tell it was a set that it had been opened and returned...it wasn't packed right, the Onyx's
                                                              were in the "gift box", not clipped to the display box where they were supposed to be (can tell they had
                                                              been there and taken off)...and the box part was on top, and not underneath where it should have been.
                                                              And big surprise, these did not work either, they would connect to the phone, but then randomly
                                                              disconnect, and sometimes you would push to talk, and nothing would go to the other one (yes it beeped,
                                                              and the lights were green)...and sometimes you would push to talk, and nothing, other times you push to
                                                              talk and it just beeps and beeps and beeps.....1'm really dissapointed, I so wanted these to work.




https://www.amazon.com/Orion-Labs-Walkie-Talkies-Unlimited/dp/B01 G239N06/ref=sr_1_10?crid=29N3Y808GIU9&dchild=18~keywords=smart+wal...                                      7/10
  Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 115 of 134 Page ID #:115
1/30/2021                               Amy   .i.com: Orion Labs Onyx Smart Walkie Talkies w/ Unlim~. .Range -Black (Pair)




                                                    184 people found this helpful

                                                        Helpful          Report abuse


                                                           Mark Wichman

                                                                   Constantly losing connection and very poor customer service
                                                    Reviewed in the United States on January 31, 2017
                                                    Color: Iridescent Cobalt Verified Purchase
                                                    They do not work. Constantly losing connection and very poor customer service.
                                                    31 people found this helpful

                                                        Helpful          Report abuse


                                                           Victoria Garcia

                                                                 ... these on a weekend trip to the ~musament park- great eo gat ahold of family mamben
                                                    wbil~ on ridaa ...
                                                    Reviewed in the United States on January 13, 2018
                                                    Color: Black Verified Purchase
                                                    Used these on a weekend trip to the amusement park- great to get ahold of family members while on rides
                                                    when we wnt grab our phones- and the kids cant Ignore the callst :)
                                                    6 people found this helpful

                                                        Helpful     ~    Report abua~


                                                          Amazon Customer

                                                                   Ong Star
                                                    Reviewed In the United States on December 22, 2016
                                                    Color: Iridescent Cobalt Verified Purchase
                                                    Can't gee it to work Could not get hold of support.
                                                    58 people found this helpful

                                                        Helpful     I    Report abuse


                                                          Josette

                                                                   Frye app works b~ttar
                                                    Revlawed in the United States on September 30, 2018
                                                    Color: Iridescent Cobalt
                                                    Get the Voxer app. It's free and it really is unlimited range. You can use it even when you are thousands of
                                                    miles away from the other person. Plus you have to connect this thing to your phone anyways. Kinda
                                                    pointless. Waste of a lot of money
                                                    35 people found this helpful

                                                        Helpful     ~    Report abuse


                                                          Wendy Abbo

                                                                  One Star
                                                    Reviewed in the United States on February 11, 2017
                                                    Color: Sllve~ Verified Purchase
                                                    Great product description but doesn't work
                                                    41 people found this helpful

                                                        Helpful     ~    Report abuse


                                                           Owen

                                                                 Looks great on a suit!
                                                    Reviewed in the United States on September 12, 2016
                                                    Color: Black    Verified Purchase
                                                    Onyx is an essential business communication tool. My company has been relying on Orion devices since
                                                    they were first available. I can be meeting with a client in NYC and instantly communicate with my partner

https://www.amazon.tom/Orion-Labs-Walkie-Talkies-Unlimited/dp/B01 G239N06/ref=sr_1_10?crid=29N3Y808GIU98~dchild=18~keywords=smart+wai...                           8/10
  Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 116 of 134 Page ID #:116
1/30/2021                                            Amy      ~i.com: Orion Labs Onyx Smart Walkie Talkies w/ Unlim~. _Range - Biack (Pair)
                                                                        in Phoenix simply by tapping the device. It is actually quite astonishing to communicate with my work
                                                                        group 2500 miles away, request a file or information and have the office provide the requested item within
                                                                        seconds, all without touching my phone, breaking eye contact or disrupting the flow of conversation. Onyx
                                                                        allows you to use your voice to create a shared space to accomplish a task....instantly. Plus, it looks great
                                                                        on a suit.




                                                                       22 people found this helpful

                                                                        ',    Helpful   I   Report abuse



                                                                       See all reviews>




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         Investor Relations                                                                                                                               Policies
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                                                   Host an Amazon Hub                                 Credit Card Marketplace
         Amazon Tours                                                                                                                                     Returns &
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                                                                                                                                                          Amazon Assistant
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                                                                                            English               United Sta[es




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         Swla6le Cloud        Original                   ~e(ivery Worldwide                  Find Movie             Digital Comics          Photography                 Fashion
         Computing            Audio                                                          eox Office Data
         Services             Performances


https://www.amazon.corn/Orion-Labs-Walkie-Talkies-Unlimited/dp/B01 G239N06/ref=sr_1_10?crid=29TV3Y808GIU9&dchild=1 &keywords=smart+wal...                                                 9/10
  Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 117 of 134 Page ID #:117
1/30/2021                                          Amy _~i.com: Orion Labs Onyx Smart Walkie Talkies w/ Unlim~. .. Range -Black (Pair)

        Fabric             Good~eads                    IMDb                                   IMUbPrc                 Kindle Direct                Amamn Pho[os            Primz Video
        Sewing, Quilting   Book reviews                 Movies, N                              Get Info                PuAlishing                   UnI(mited Photo         Direct
        & Knitting         &                            &Celebrities                           Entertainment           Indie Digital &Print         Storage                 Video
                           recommendations                                                     Professionals           Publishing                   Free With Prime         Dirtribution
                                                                                               Need                    Made Easy                                            Made Easy

        Snopbop            Amazon                       Whole Foods Market                     WooU                    2appos                       Ring                    eero WiFi
        Designee           Warehouse                    America's Healthiest                   Deals and               Shoes&                       Smart Home              Scream 4K
        Fashion Brands     Great Deals on               Grocery Store                          Shenanigans             Clothing                     Security Systems        Video
                           Quality Used                                                                                                                                     in Every Roam
                           Products

                           Neighbors App                Amamn Subscription Boxes               PiIIFa<k                Amazon Renewed               Amazon Second
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                           & Safety Aler[s              to your door                           Simplified              you can trust                Pass it on,t2de it
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                                                                                                                                                    give i[ a second life




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Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 118 of 134 Page ID #:118

     ALFRED MCZEAL JR. VS. AMAZON.com SERVICES, et al




                        EXHIBIT" 7 "



                 BEST BUY, INC. WEBSITE
               TRADEMARK INFRINGEMENTS




                              NO OF PAGES:
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                                                                                                        EXHIBIT #7
F        (~"     0 Wstbuy.com/site/orion-labs-onyx-smart-walkie-talltie-pair-blacW5807903.p?simld=5807903                                                                           {t      ~ .~                   W ~ * ~ Erro.           ,

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  Orion Labs -Onyx Smart Walkie-Talkie(Pa(r) -Black                                                                                                     X199.99
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                                                                                                                                                                           ~                        .i
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     ALFRED MCZEAL JR. VS. AMAZON.com SERVICES, et al
MENU   Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 121 of 134 Page ID #:121

       ALFRED MCZEAL, JR. dba Smart Walkiet Talkie   VS ORION LABS, ~~c.                                             Case Number:


                                                                                                  ~~ F ~~
                                           EXHIBIT
                                           COMPLAINT FOR FRAUD

                               COUNTERFIET "SMART WALKIE
                               TALKIE" TRADEMARK &FRAUD
                                LETTER OF JANUARY 18, 2018




                                                                  ASSERTED AGAINST:

                                                                            ORION LABS, LLC.




                                                                                             i
                 NOTICE PLEADING: Rule 9(b) of the Federal Rules of Civil Procedure requires that the facts constituting the fraud be pled with specificity, as
                conclusion allegations are insufficient. FED. R. CIV. PROC. 9(b) (See Moore v. Kayporrt Package Exp. Inc. 885 F, 2d 533,540 (9th Cic 1989)(" A
                 pleading is sufficient under Rule 9(b) if it identifies the circumstances constituting the fraud so that the defendant can prepare an adequate answer to
                 the allegations. A statement of time. place. and nature of the alleged fraudulent activities are suffcient. (Walling v.Beverly Enters. 476 F. 2d. 393.397.
                (9th Cir. 1973) concluding time, place and nature of fraud meets Rule 9(b) requirements.
                                                                                                                                   Cause of Action -Fraud
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 122 of 134 Page ID #:122

  ALFRED MCZEAL. JR. dba Smart Walkiet Talkie   VS ORION LABS. LLC.                Case Number:
       ALFRED MCZEAL, JR.                                                                            Page 1 of 12
       832-623-4418
  1
                                                                                 EXHIBIT "F"
  2

  3

  4
        ALFRED MCZEAL, JR. dba Smart Walkiet Talkie § Case No.
  5      Plaintiff
                                        vs                            § COMPLAINT FOR FRAUD
  6      ORION LABS, LLC.                                             §            ATTACHMENT T0:

                                                                      §      OComp~aint ❑Cross-Complaint
         AMAZON.COM SERVICES LLC
  7
         BEST BUY CO, Inc                                             §
                                                                      §          RULE 9(b) F.R.C.P
  8      JESSE ROBBINS,                                               §
         SETTER ROCHE, LLP                                            §      ASSERTED AGAINST:
  9                                                                   ~C       ORION LABS, LLC.
          THOMAS SYLKE
  10       Defendants)                                                §
  11                                                      NATURE OF THE FRAUD:
  12       COUNTERFEIT "SMART WALKIE TALKIE" TRADEMARK 8~ FRAUD LETTER OF
                                  JANUARY 18, 2018
  13
                 I. INTRODUCTION: NATURE OF THE SCHEME -STATEMENT OF FACTS
  14                           A COUNTERFIET TRADMARK "SMART WALKIE TALKIE"
                 This is a complaint for fraud and negligent misrepresentation by Plaintiff Alfred
  15

  16 McZeal, Jr., and against Orion Labs, LLC. ("Orion").                         Orion and the other named

  17 defendants uses a counterfeit trademark called "SMART WALKIE TALKIE" which is

  18

  19

  20 ~ plaintiff, namely, U.S REGISTRATION NO. 5303249' Registration Date :October 3,

  21 ~ 2017 and registed on the PRINCIPAL REGISTER. In a conspiracy to deprive plaintiff of ~

  22
       ~ the mark, defendants uses a counterfiet mark "SMART WALKIE TALKIE" which causes ~
  23
     undue confusion of plaintiff services with defedants and results in FRAUD.
  24                         CONTENT OF THE FALSE REPRESENTATION
                               SMART WALKIE TALKIE counterfief
  25  The content of the false representation is that defendants own the Registered Mark "Smart
  26 Walkie Talkie and has the authority to use such but in fact they do not. Additional false content ~

  27 is that defendants have fair use to use the mark in commerce without permission or a license ~

  28
                                                                                                     ction -
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 123 of 134 Page ID #:123

       ALFRED MCZEAL JR. dba Smart Walkiet Talkie   VS ORION LABS LLC                              Case Number:

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  1

  2       I.    Introduction: Nature of the Scheme &Content of The False Representation...........1
                                            A COUNTERFIET TRADMARK "SMART WALKIE TALKIE"
  3
          II. The Date and Time of the Occurrences......................................................................2
 4               The dates and time began on 1-18-2018, and the fraud continue to this very day as of January 31,
                 2021.
 5        III. Identity Of The Misrepresentations Made ............................................................3
                       1. 'SMART WALKIE TALKIE" couterfiet mark used in Commerce since 1-18-2018                              ..........3
 6
                       2. "DESCRIPTIVE PHARSE" SCAM asserted by ORION on 1-18-2018                                            """""3
 7
                        3. USPTO ISSUE IN ERROR SCAM asserted by ORION on 1-18-2018                                            """"'3
 8
                       4. THE "PRIORITY" SCAM asserted by ORION on 1-18-2018                                                    ••••••••3
 9                     5. THE "NO LIKELIHOOD OF CONFUSION SCAM" on 1-18-2018                                                   """"'3

  10                    6. THE "NON TRADEMARK SMART WALKIE TALKIE" PHRASE SCAM 1-18-2018                                       •..•.•...3

                        7. THE ORION WEBSITE, PACKAGE MARKING, AND MANUALS WITH SMART WALKIE TALKIE'.....3
  11
          IV. The Who, What, When, Where, And How The Misrepresentations Were Made.....4
  12             ORION LABS, LLC., TRADEMARK INFRINGEMENT, 1-19-2018 TO PRESENT, RETAIL OPERATIONS
                 NATIONWIDE, AMAZON, BESTBUY, AND MADE VIA ONLINE ADVERTISINGS AND WEBSITES.
  13
          V. To Whom The Misrepresentations Were Made and The Means The
  14
             Representation was Tendered ..................................................................................5
                  ALFRED MCZEAL, JR. dba Smart Walkiet Talkie, to the general public, to customers of ORIONS,
                  Customers of AMAZON, Customers of Best Buy, Inc.
  15
          VI. Name of the Persons) Making the Misrepresentation .............................................6
  16               ORION LABS, LLC,. AMAZON.COM SERVICES LLC, BEST BUY CO, Inc, JESSE ROBBINS
                   THOMAS SYLKE, SETTER ROCHE, LLP. DOES 1 THRU 10,000
  17      VII. To Who The Representation Was Made 8~ Their Authority to Speak...................7
                    THE REPRESENTATION WAS MADE TO PLAINTIFF, AND PLAINTIFF AUTHORITY TO SPEAK
  18                IS BASED ON OWNERSHIP OF THE TRADEMARK.
          VIII. To Whom They Spoke.............................................................................................8
  19                THE SPOKE THE FRAUD TO PLAINTIFF, THE GENERAL PUBLIC AND TO ORION LABS, LLC,. AMAZON.COM
                    SERVICES LLC, BEST BUY CO, Inc, INC JESSE ROBBINS THOMAS SYLKE, SETTER ROCHE, LLP. DOES 1 THRU
                    10,000
 2~
          IX. What They Said or Wrote When Each Misrepresentation was Made or Written ....9
                    DEFENDANTS GENERALLY WROTE THAT THE USPTO MADE A MISTAKE ON ISSUANCE OF THE
 21                 TRADEMARK, AND THEY HAVE THE RIGHT TO USE THE MARK OVER PLAINTIFF BUT BASED
                    UPON FRAUDULENT EXCEPTIONS EVEN IN LIGHT SUCH EXCEPTION WERE NOT TIMELY
 22                 RAISED IN THE PATENT AND TRADEMARK OFFICE.
          X.     Defendants had Knowledge of the Falsity and had full Intent to Defraud
 23             ("Scienter'~ and to induce reliance.......................................................................10
                     ORION, and the other Defendants had full knowledge of the falsity and had full intent to
 24                  defraud plaintiff with the Counterfiet Mark and false and fraudulent exceptions raised.
          XI. Resultin_q Dama_ge: Severe Damages Resulted From The Fraud........................11
 25
                     The resulting damages were in excess of Milliions of Dollars in Sales, loss of Licensing Fees,
                     slander of the trade mark, trademark dress, and Loss of Exclusive Use of the Mark.
 26
          XII. Causation: Defendant Conduct Was A Substantial Factor Which Caused
 27            The Harm................................................................................................................12
                       The proximate causes was defendant's fraudulent conduct as set forth herein along with
 28                  defendants reckless disregard for the U.S. Lanham Act, whereas defendants illegal conduct
                     was the definite leading factor which caused the harm the infringment activities.
                                                                                                      TABLE OF CONTENTS
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      ALFRED MCZEAL, JR. dba Smart Walkiet Talkie   VS ORION LABS, LLC.         Case Number:

  1 II                                                     STATEMENT OF FACTS                  Page 3 of 12


                                        II. DATES AND TIMES OF THE OCCURRENCES
  2

  3

 4
            The dates and time began on 1-18-2018, and the fraud continue to this very day as of
  5
            January 31, 2021.
 6

 7

 8            Plaintiff asserts that the fraud began on or about 1-18-2018 and is successive to this
 9
            date as the fraud has never ceased by defedants.
  10

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                                                                                          of Action - Fra
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ALFRED MCZEAL, JR. dba Smart Walkiet Talkie VS ORLON LABS, LLC.             Case Number:
                                                                                                  Page 4 of 12
    1                                                   STATEMENT OF FACTS

    2                         III. IDENTITY OF THE MISREPRESENTATIONS MADE
    3        3.1       The Identity of the Misrepresentation includes but is not limited to all of the

    4        following Misrepresentations:
    5       1. 'SMART WALKIE TALKIE" couterfiet mark used in Commerce since 1-18-2018

    6       Defendants used the counterfiet mark "SMART WALKIE TALKIE" on packaging,
    ~       instruction manuals, web pages, and general marketing of its product
    8
            2. "DESCRIPTIVE PHARSE" SCAM asserted by ORION on 1-18-2018
    9
                 Defendants fraudulent assetred a false scam defense that plaintiff indisputable exclusive
    10      trademark was descriptive, when in fact plaintiff mark appears on the PRINCIPAL REGISTER
    11      endowed with all of the substantial exclusive rights, which rules out descriptive phrase.
    12     3. USPTO ISSUE IN ERROR SCAM asserted by ORION on 1-18-2018

    13     Defendant fraudulent asserted a false and fraudulent defense in USPTO errror when in
           fact failed to dispute any fact during or after the adjudication of the mark with the
    14
           USPTO. Defendant "issued in error" is a scam on the USPTO, plaintiff and the public.
    15
            4. THE "PRIORITY" SCAM asserted by ORION on 1-18-2018
    16
                Defendant fraudulently wrote that plaintiff lacked priority in light of the mark being
    77      assigned on the PRINCIPAL REGISTER of the USPTO. It is alleged that the "Priority"
    ~g      Scam was made for purposes of Theft and Misrepresentation of the Status of the Mark.
    19      5. THE "NO LIKELIHOOD OF CONFUSION SCAM" on 1-18-2018
            Defendant fraudulently wrote that THERE IS NOT LIKELIHOOD OF CONFUSION in
    20
            light defendants using the same exact mark as plaintiff. It is alleged that the "No
    21      Likelihood of Confusion" Scam was made for purposes of Theft.
    22      6. THE "NON TRADEMARK SMART WALKIE TALKIE" PHRASE SCAM 1-18-2018
    23      Defendant fraudulently wrote that there is a "non trademark smark walkie talkie Phrase is a non
            trademark even in light of the existence of the Registered Trademark that defendants were made aware
    24
            of, and were aware of. It is alleged that the "Non Trademark" Scam was made for purposes of Theft.
    25
            7. THE ORION WEBSITE, PACKAGE MARKING, AND MANUALS WITH SMART WALKIE TALKIE"
    26
            Defendant fraudulently uses the mark'SMART WALKIE TALKIE" on all of its packaging,
    27       manuals and even its website and countless web pages on defendants website. It is
    28      alleged that the uses complained of here and is confusingly simlar to plaintiff mark.

                                                                                        Cause of Action -Fraud
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ALFRED MCZEAL, JR. dba Smart Walkiet Talkie   VS ORION LABS, LLC.             Case Number:
                                                                                                    Page 5 of 12
     1
                                                            STATEMENT OF FACTS
                    IV. THE WHO,WHAT, WHEN,WHERE,8~ HOW THE REPRESENTATIONS
     2
                                           WERE MADE
     3        4.1 The details of the Who, What, Where, When, and How the representations were
     4
              made are as follows: BEST BUY CO, Inc
     5        4.2 WHO: (WHO'S INVOLVED)

    6

     7       AMAZON.COM SERVICES LLC                                 BEST BUY CO, Inc
             Orion Labs, Inc.                                       SETTER ROCHE, LLP
    8
             JESSE ROBBINS,
    9
             THOMAS SYLKE
     10      4.3 WHAT:(What Misrepresentations then Committed)
     11      1. 'SMART WALKIE TALKIE" coute~et mark used in Commerce since 1-18-2018
     12      2. "DESCRIPTIVE PHARSE" SCAM asserted by ORION on 1-18-2018
     13      3. USPTO ISSUE IN ERROR SCAM asserted by ORION on 1-18-2018
     14      4. THE "PRIORITY" SCAM asserted by ORION on 1-18-2018

     15      5. THE "NO LIKELIHOOD OF CONFUSION SCAM" on 1-18-2018

     16      6. THE "NON TRADEMARK SMART WALKIE TALKIE" PHRASE SCAM 1-18-2018

     17 ~ 7. THE ORION WEBSITE, PACKAGE MARKING, AND MANUALS WITH SMART WALKIE TALKIE"

     18     4.4 WHEN: (When Exactly The Events Occurred)
             The dates and time began on 1-18-2018, and the fraud continue to this very day as of January 31, 2021.
     19
              The infringing events continue to harm plaintiff in commerce because much of the advertising
    20
              appears on Amazon.
    21
              4.5 WHERE:
    22        ORION LABS, LLC., TRADEMARK INFRINGEMENT, 1-19-2018 TO PRESENT, RETAIL

    23        OPERATIONS NATIONWIDE, AMAZON, BESTBUY, AND MADE VIA ONLINE ADVERTISINGS AND WEBSITES.


    24        4.6 HOW:"False Manufacturer 8~ Recordation of False Instruments

    25         4.7       Through deceptive, and fraudulent acts defendants recorded one or more

    26         fraudulent instruments a series of misrepresentation which embellishes the fraud.
    27        4.8 Through Internet Marketing via defenfendants international websites and recording

    28        and Repisterinp Smart Walkie Talkie with major Search Engines like Google.
                                                                                               e of Action -Fraud
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ALFRED MCZEAL, JR. dba Smart Walkiet Talkie   VS ORION LABS, ~~c.             Case Number:


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     1
                        V. TO WHOM THE MISREPRESENTATIONS WERE MADE AND THE
     2                         MEANS THE REPRESENTATION WAS TENDERED
     3
              5.1 TO WHOM THE MISREPRESENTATION WERE MADE:
     4
              The misrepresentations were made to all of the following non-exclusive individuals and entities:
     5
               ALFRED MCZEAL, JR. dba Smart Walkiet Talkie, to the general public, to customers !'
    6
              of ORIONS, Customers of AMAZON, Customers of Best Buy, Inc.
     7

    8           Additonaily, the misrepresentations are made to defendants own business partners
    9
               and the general public who is consuming the product and trademark worldwide.
     10

     11

     12

     13       5.2 THE MEANS THE REPRESENTATION WAS TENDERED:

     14

     15      The Means The Representation was tendered was in multiple non-exclusive ways as

     16      follows"

     17       1. Distributed via Defendants Product Literature such as manuals.

     18      2. Distributed Via Defendants Websites and Webpages which are one of the mostly

     19            highly infringing methods of tedering.

     20       3. Distributed through Defendants major distrubutors including but not limtied to:
    21            a. Amazon
    22
                  b. Best Buy, Inc.
     23
                  c. Direct Advertising,
    24
                  d. Google Advertising,
     25
                  e. Directly Word of Mouth To employees, boad Members and the General Public.
     26

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                                                                                       Cause ofAction -Fraud
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ALFRED MCZEAL. JR. dba Smart Walkiet Talkie   VS ORION LABS, LLC.           Case Number:
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     1                                                     STATEMENT OF FACTS
     2
                VI. NAME OF THE PERSONS MAKING THE FALSE REPRESENTATION:
     3

    4            It is alleged that one or more or all of the defendants made the false

     5           representations and the names and identity of the persons or entities making the

    6           false representations are as follows:

    7
                 ORION LABS, LLC., and,
    8

    9            AMAZON.COM SERVICES LLC, and,

     10
                  BEST BUY CO, Inc, and,
     11

     12           JESSE ROBBINS, and,

     13
                  THOMAS SYLKE, and,
     14

     15           SETTER ROCHE, LLP, and
     16
                   DOES 1 THRU 10,000
     17

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    21               It is further alleged herein that defendants employees (past and present) have

    22           made the misrepresentations.

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                                                                                     Cause of Action -Fraud
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 129 of 134 Page ID #:129

ALFRED MCZEAL. JR. dba Smart Walkiet Talkie   VS ORION LABS, ~~c.            Case Number:

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     ~                                                       STATEMENT OF FACTS

     2          VII. TO WHO THE REPRESENTATION WAS MADE AND THEIR AUTHORITY TO
     3                                      SPEAK
             THE REPRESENTATION WAS MADE TO PLAINTIFF, AND PLAINTIFF AUTHORITY
    4
             TO SPEAK IS BASED ON OWNERSHIP OF THE TRADEMARK.
     5
    6                    The representations were also made to USPTO and the authority of this

     ~       governmental agency to speak is that it is the sole administor of issuing Patents and

     g       Trademark in the United States.

    9
                    The representations were also made to the State of California Trademark Authority
     10

     11       Who has the exclusive governmental authority to speak in htat it is the sole

     12       administrator of issuing trademarks in the state of California.

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                                                                                            e of Action -
 Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 130 of 134 Page ID #:130

ALFRED MCZEAL, JR. dba Smart Walkiet Talkie   VS ORION LABS, LLC.             Case Number:
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     1                                                        STATEMENT OF FACTS
     2
                                                         VIII. TO WHOM THEY SPOKE
     3

    4
               8.1        The false representation was spoken to several persons and entities which
     5
               includes but is not limited to the following individuals and/or entities:
    6          THEY SPOKE THE FRAUD TO PLAINTIFF, THE GENERAL PUBLIC AND TO
     7         ORION LABS, LLC., AMAZON.COM SERVICES LLC, BEST BUY CO, Inc,
    8          JESSE ROBBINS, THOMAS SYLKE, SETTER ROCHE, LLP. AND DOES 1

    9          THRU 10,000
     10
                  Additionally, to the general public, they spoke the fraud to each of the employees
     11
               and agents, including employees of all of the above defendants.
     12

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                                                                                        ause of Action - I-ra
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 131 of 134 Page ID #:131

ALFRED MCZEAL, JR. dba Smart Walkiet Talkie   VS ORION LABS, LLC.                Case Number:
                                                                                                         Page 10 of 12
     1                                                       STATEMENT OF FACTS
     2         IX. WHAT THEY SAID OR WROTE WHEN EACH REPRESENTATION WAS MADE:
               DEFENDANTS GENERALLY WROTE THAT THE USPTO MADE A MISTAKE ON ISSUANCE OF THE
     3        TRADEMARK, AND THEY HAVE THE RIGHT TO USE THE MARK OVER PLAINTIFF BUT BASED
    4          UPON FRAUDULENT EXCEPTIONS EVEN IN LIGHT SUCH EXCEPTION WERE NOT TIMELY
               RAISED IN THE PATENT AND TRADEMARK OFFICE.
    5        1. 'SMART WALKIE TALKIE" couterfiet mark used in Commerce since 1-18-2018
    6         Defendant ORION wrote, through its attorney of record that they had the right to use a
             counterfied mark Smark Walkie Talkie over plaintiff's exclusive trademark rights issued
    7
              by the United States Patent and Trademark office.
    $         2. "DESCRIPTIVE PHARSE" SCAM asserted by ORION on 1-18-2018
     g        Defendant ORION wrote throgh its attorney of Record, that plaintiff's Federally
              Protected Smark Walkie Talkie Trademark was merely a descriptive phrase which gave
     10
              it right to violate plaintiff federally registered trademarks righs.
     11
               3. USPTO ISSUE IN ERROR SCAM asserted by ORION on 1-18-2018
     ~2       Defendant ORION wrote throgh its attorney of Record, that the USPTO issued the trademark in error,

              `^~hich in fact was a material misrepresenation especially in light of it failed to dispute the the USPTO
     13
              finds during the normal dispute period before issuances of the Tradmark to the principal register.
     14       4. THE "PRIORITY" SCAM asserted by ORION on 1-18-2018
     15      Defendants ORION negligently and fraudulent wrote that the priority status of and U.S. trademak on the

             PRINCIPAL REGISTER was in dispute when in knew or should have know that priority status is
     16
     17      undisputed when a mark is issued on the Principal Register of the USPTO Trademark Register.
             5. THE "NO LIKELIHOOD OF CONFUSION SCAM" on 1-18-2018
     18      Defendant ORION negligently and frauduletly wrote throgh its attorney of Record, there

     19       was no likelihood of confusion in the mark, when it knew that it was using the same

    20        mark as plaintiff, and whereas the purported defense was a material misrepresentation.
    2~        6. THE "NON TRADEMARK SMART WALKIE TALKIE" PHRASE SCAM 1-18-2018
    22        Defendant ORION wrote throgh its attorney of Record, that the USPTO issued the trademark

    23         had no status as a trademark, even though as a matter of fact, defendants had already

    24        acknowledge plaintiffs mark as being on the Principal Register of the United States patent and

    25        Trademark office.
              7. THE ORION WEBSITE, PACKAGE MARKING, AND MANUALS WITH SMART WALKIE TALKIE"
    26        Defendant ORION wrote on all of its packaging, markings, manuals, web pages and

    27        advised plaintiff that they had perfect right to infringe based on first use, and fair use,

    28        and other fraudulent methods which have no basis in fact or law.
                                                                                             Cause of Action -Fraud
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ALFRED MCZEAL, JR. dba Small Walkiet Talkie   VS ORION LABS, ~~c.              Case Number:
                                                             STATEMENT OF FACTS                 Page 11 of 12
     1 II
                       X. Defendants had Knowledge of the Falsity and had full Intent to Defraud
     2                                    ("Scienter'~ and to induce reliance
     3

    4         ORION, and the other Defendants had full knowledge of the falsity and had full intent to

     5        defraud plaintiff with the Counterfiet Mark and false and fraudulent exceptions raised.
    6

     7

    8             Futher defendants ORION had full knowlege of the falsities based on is letter to

    9          plaintiff that it would continue to infringe the mark.

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     14                                                        TO INDUCE RELIANCE
     15

     16               In order to induce reliance on the fraud, defedants and their attorney submitted

     17        various moot, purported defense and reasons to use the mark in order to induce

     18        plaintiff into believing that they were not infringing, but which in fact they were.
     19               Plaintiff relied on these frivilous and fraudulent inducemnets which has caused
    20         plaintiff great financial losses and stress.
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                                                                                        Cause of Action -Fraud
Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 133 of 134 Page ID #:133

ALFRED MCZEAL. JR. d6a Smart Walkiet Talkie   VS ORION LABS, ~~c.               Case Number:

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     1
                            XI. Resulting Dama_ge: Severe Damages Resulted From The Fraud
     2
             The resulting damages were in excess of Milliions of Dollars in Sales, loss of Licensing Fees,
     3
             slander of the trade mark, trademark dress, and Loss of Exclusive Use of the Mark.
     4
                                                        STATEMENT OF DAMAGES AGAINST:
     5

    6             1 1.1 As a direct and proximate result of the fraud complained of herein, plaintiffs)

     7            has experienced substantial financial losses, and other damages which are

    8             recoverable far defendant's deceit, misconduct and fraudulent acts.
    9
                  1 1.2 The Description of the Losses and/or damages include, but not limited to all of
     1C                                                                                           A MOUNT:
                 the following:
     11
                                              DESCRIPTION OF LOSS /DAMAGE
     1c
                I nfringement FRAUD of the Trademark "Smart Walkie Talkie"                      $7,000,000.00
     1~
                 Negligent Misrepresentation of use of "Smart Walkie Talkie"                     $7,000,000.00
     14         Licensing Fees Owed                                                             $12,000,000.00

     1c         Current Licensing Fees Owed                                                      $7,000,000.00

     1E

     17

     1~

     1~
                                                                                   TOTAL:      $33,000,000.00
    2C

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                                                                                        Cause of Action -Fraud
 Case 2:21-cv-07093-SVW-RAO Document 1 Filed 09/02/21 Page 134 of 134 Page ID #:134

ALFRED MCZEAL, JR. dba Smart Walkiet Talkie   VS ORION LABS, ~~c.               Case Number:                  i
                                                           STATEMENT OF FACTS                    Page 13 of 13I
     1

     2                XII. Causation: Defendant's Conduct Was A Substantial Factor
                                         Which Caused The Harm
     3
                1 1.1 As a direct and proximate result of the fraud complained of herein, plaintiffs)
    4
                has experienced substantial financial losses, and other damages which are
     5

    6 '         recoverable for defendant's deceit, misconduct and fraudulent acts.

     7                 COUNTERFIET "SMART WALKIE TALKIE" TRADEMARK &FRAUD LETTER OF JANUARY 18. 2018


    8
                1 1.2 It is specially alleged that defendants sole fraudulent conduct as described in
    9
               Exhibit "F" herein, and in the master complaint was indeed to sole reason for the harm
     10
               caused and monies lost.
     11

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                Respectfully Submitted,
    22

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    24
                                                                    Dated: January 29, 2021
              AL ED MCZE L, J
    25        832-623-4418
    26

    27

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                                                                                         Cause of Action -Fraud
